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HERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT. COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION |

 

JAN - 5 2021

 

 

 

ANTHONY STEVEN AGUILAR, CLERC US DISTRICT COURT

By —___._ 6f-——

 

Movant,

 

 

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§
§
§
Vv. § Crim No. 4:05-cr-00195-A-5
§

UNITED STATES OF AMERICA, §§

§

Respondent. §

MOTION FOR COMPASSIONATE RELEASE PURSUANT TO
18 U.S.C. § 3582(C)1)(A) AND FIRST STEP ACT OF 2018

COMES Movant, ANTHONY STEVEN AGUILAR (“Aguilar”), appearing pro
se, and respectfully moves the Court under 18 U.S.C. § 3582(c)(1)(A)(i) to modify
his sentence and immediately release him to home confinement and a period of
supervised release. The unprecedented threat of COVID-19 could not have been
foreseen at sentencing, and poses extraordinary risks to Aguilar’s health. The virus
thrives in densely packed populations, and the FMC is ill-equipped to contain the
pandemic and prevent COVID-19 from becoming a de facto death sentence for
Aguilar. Aguilar’s diagnosed medical conditions make him especially vulnerable to
the deadly risks of COVID-19. Allowing Aguilar to finish out his sentence at home
is the only prudent response to the extraordinary and compelling circumstances

created by the novel coronavirus.

 

 
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I. JURISDICTION

The district court’s jurisdiction to correct or modify a defendant’s sentence is
limited to those specific circumstances enumerated by Congress in 18 U.S.C. § 3582.
The scope of a proceeding under 18 U.S.C. § 3582(c)(2) in cases like this one is
extremely limited. Dillon v. United States, 130 S.Ct. 2683, 2687(2010). It is
black-letter law that a federal court generally “may not modify a term of
imprisonment once it has been imposed.” Jd. However, Congress has allowed an
exception to that rule “in the case of a defendant who has been sentenced to a term
of imprisonment based on a sentencing range that has subsequently been lowered by
the Sentencing Commission.” 18 U.S.C. § 3582(c)(2); see also, Freeman v. United
States, 131 $.Ct. 2685 (2011) (reciting standard for sentence modifications). Such
defendants are entitled to move for retroactive modification of their sentences. Dillon,
130 S.Ct. at 2690-91,
Il. PROCEDURAL HISTORY

A. Procedural Background

On December 14, 2005, a grand jury in United States District Court for the

Northern District of Texas, Fort Worth Division, returned a fourteen (14) Count

 
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Indictment, charging Aguilar and fourteen other co-defendants. See Doc. 1.! Count
| charged Aguilar with Conspiracy to Distribute and Possess with Intent to Distribute
More Than 50 Grams of Pure Methamphetamine, in violation of 21 U.S.C. §§
841(a)(1), (b)(1)(A), and 846. Jd.

On March 13, 2006, a two-day jury trial commenced. See Doc. 258.

On March 14, 2006, the jury returned a guilty verdict as to Aguilar on Count
1 of the Indictment. See Doc. 267.

On June 30, 2006, Aguilar was sentenced to a term of 360 months’
imprisonment, 5 years of Supervised Release, no Fine or Restitution, and a
Mandatory Special Assessment Fee of $100. See Docs. 382, 389. On the same day,
Aguilar filed a Notice of Appeal. See Doc. 383.

On July 20, 2007, the United States Court of Appeals for the Fifth Circuit
(“Fifth Circuit”) issued an Order affirming Aguilar’s sentence and conviction. See

Docs. 580, 582.

 

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“Doc.” refers to the U. 8. District Court for the Northern District of Texas, Fort Worth
Division, Docket Report in Criminal Number 4:05-cr-00195-A-5, which is immediately followed
by the Docket Entry number. “CvDoc.” refers to the U. S. District Court for the Northern District
of Texas, Fort Worth Division, Docket Report in Civil Number 4:09-cv-00125-A, which is
immediately followed by the Docket Entry number.“PSR” refers to the Presentence Report in this
case, which is immediately followed by the paragraph (“?’) number.

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On February 24, 2009, Aguilar filed a Motion under 28 U.S.C. § 2255 to
Vacate, Set Aside or Correct Sentence by a Person in Federal Custody (“§ 2255
Motion”), which was denied on August 10, 2009. See Doc. 632, CvDoes. 1-2, 10-11.

B. Statement of the Relevant Facts

1. Offense Conduct

Pursuant to USSG § 1131.3(a)(1)(A), the defendant is accountable for all acts
and omissions he committed. Additionally, pursuant to USSG § 1B1.3{a)(1)(B), in
the case of a jointly undertaken criminal activity (a criminal plan, scheme, endeavor,
or enterprise undertaken by the defendant in concert with others, whether or not
charged as a conspiracy), the defendant is accountable for all reasonably foreseeable
acts and omissions of other in furtherance of the jointly undertaken criminal activity
that occurred during the commission of the offense of conviction.

Anthony Aguilar was employed by Francisco Flores as a high level

distributor of methamphetamine - ICE. Aguilar primarily distributed to

Mike Nichols, Katy Miller, Rodney Miller, Michael Cortez, and Kenny

Karkalits. In connection with his drug trafficking activities, Aguilar

employed Mathew Becker as a runner. As such, Aguilar directed

Becker’s illegal activities.

During the life of the conspiracy, Aguilar was arrested with 29.6 grams

of methamphetamine. Additionally, Cortez was arrested with 377.3

grams of methamphetamine. (During post arrest statements, Cortez

indicated the drugs had come from Aguilar.) Thus, a total of 406.9
grams of methamphetamine was seized in connection with Aguilar.

 
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In addition to the seizures, several conspiracy members provided
statements which relate to Aguilar’s drug amounts. Flores stated he
purchased one-fourth pound (113.4 grams) of methamphetamine every
week. Cortez stated he purchased pound quantities (453.6 grams) of
methamphetamine - ICE from Aguilar. Mario Beltran stated Aguilar
would sell as much as one-half pound (226.8 grams) of
methamphetamine - Ice. Rodney Miller estimated he (Miller) received
a total of 1 pound (453.6 grams) of methamphetamine - ICE from
Aguilar when he (Miller) resided in Odessa, Texas. Scott Clement stated
he saw Aguilar and several others in a room at the primary “stash house”
in the spring of 2003, along with 10 to 20 pounds (4.5 to 9 kilograms)
of methamphetamine - ICE, a large sum of cash, and several firearms.
Jose Amaya reported Aguilar received from one-fourth pound (113.4
grams) to one-half (226.8 grams) pound quantities of methamphetamine
ICE from him (Amaya).

The estimates of the methamphetamine - ICE provided above far exceed
the 1.5 kilograms of ICE necessary to invoke a base offense level of
38,which is the highest possible base offense level associated with the
drug table found in USSG § 2D1.1. The GBH, cocaine, and ecstacy will
not be used to calculate the guidelines as the Flores conspiracy primarily
dealt with methamphetamine - ICE, Adding the GLIB, cocaine, and
ecstacy would not affect the guideline calculations.

See PSR Jf 35-39.
2. Trial Proceeding
Attorney Brett Boone was appointed as Aguilar’s trial counsel on January 5,
2006. At trial, the government called numerous witnesses to testify as to Aguilar’s
alleged tied to the charged conspiracy and his role in buying and selling
methamphetamine. After a two-day trial, a jury found him guilty as charged on March

14, 2006. See Doc. 267. The case was referred to the Probation Office for the

 
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preparation of the PSR. Following his conviction, Aguilar filed a motion for new trial,
which the Court denied on March 22, 2006. See Docs. 273, 275.
3. Presentence Report Calculations and Recommendations
The Probation Office prepared Aguilar’s PSR, using the 2005 edition of the
Guidelines Manual. See PSR 7 44. Count 1: Drug Conspiracy calls for a Base Offense
Level of 38 because Aguilar was held accountable for at least 1.5 kilograms of
methamphetamine-ICE, pursuant to USSG § 2D1.1(c)(1). See PSR § 45. Two (2)
levels were added for the firearm, pursuant to USSG § 2D1.1(b)(1). See PSR { 46.
Another two (2) levels were added for Aguilar’s role in the offense as a manager or
supervisor, pursuant to USSG § 3BI1.1(c). See PSR 4 48. The PSR calculated
Aguilar’s Total Offense Level to be level 42. See PSR 7 51. Aguilar’s total criminal
history point(s) of 1, placed him in Criminal History Category I. See PSR 955. Based
upon a Total Offense Level of 42 and a Criminal History Category of, the guideline
imprisonment range was 360 months to Life. See PSR § 85.
4, Sentencing Proceeding
On June 30, 2006, a Sentencing Hearing was held before Judge John McBryde.
See Doc. 382. At sentencing, the court sentenced Aguilar to a term of 360 months’
imprisonment followed by a five-year term of supervised release. A timely Notice of

appeal was filed on the same day. See Doc. 376.

 

 
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5. Appellate Proceeding

On Appeal, Aguilar argued that the District Court erred by denying his motion
to suppress and by relying on unreliable hearsay in sentencing him. His conviction
and sentence were affirmed on July 20, 2007. United States v. Aguilar, 237 F. App’x.
956 (5" Cir. 2007) (unpublished). Aguilar’s petition for writ of certiorari was denied
on February 25, 2008.

6. Postconviction Procceding

On February 24, 2009, Aguilar filed a § 2255 Motion, claiming that he received
ineffective assistance of counsel. The Court opined that Aguilar failed to show
deficient conduct or resulting prejudice, hence, his motion was denied on August 10,
2009. See CvDocs. 10-11.

III. DISCUSSION

As a preliminary matter, Aguilar respectfully requests that this Court be
mindful that pro se pleadings are to be construed liberally. See United States v.
Kayode, 777 F.3d 719 (5" Cir. 2014) (Pro se pleadings are to be held to less stringent
standards than formal pleadings drafted by lawyers, and should therefore be liberally
construed); Estelle v. Gamble, 429 U.S. 97, 106 (1976) (same); and Haines v. Kerner,

404 U.S. 319, 320 (1972) (same).

 
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Aguilar’s Current Conditions of Confinement and Health
Conditions.

i. Defendant, Anthony Steven Aguilar, was sentenced in 2006 for
Conspiracy to Distribute and Possess with Intent to Distribute Pure
Methamphetamine (Count 1). This gave Aguilar a total term of 360
months’ imprisonment.

2. Aguilar’s projected release date is on July 18, 2031. However, he suffers
from incurable, progressive disease, from which Aguilar will never
recover, to wit: Hypertension and Hypertensive Heart Disease. Aguilar
also suffers from osteoarthritis, chronic constipation for 15 years, he had
undergone nose surgery (which causes him to breathe through one side
of the nose), and had two (2) hernia operations (causing severe bowel
obstruction), See Exhibit 1.

3. Aguilar, age 46, currently housed at Federal Medical Center, in Butner,
North Carolina (“FMC Butner”).

Facts:

Hypertension. Hypertension is another name for high blood pressure. It can
lead to severe health complications and increase the risk of heart disease,
stroke, and sometimes death. Blood pressure is the force that a person’s blood
exerts against the walls of their blood vessels. This pressure depends on the
resistance of the blood vessels and how hard the heart has to work.

Hypertension is a primary risk factor for cardiovascular disease, including
stroke, heart attack, heart failure, and aneurysm. Keeping blood pressure under
control is vital for preserving health and reducing the risk of these dangerous
conditions,

Hypertensive Heart Disease. Hypertensive heart disease refers to heart
conditions caused by high blood pressure. The heart working under increased
pressure causes some different heart disorders. Hypertensive heart disease
includes heart failure, thickening of the heart muscle, coronary artery disease,
and other conditions.

 

 
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Hypertensive heart disease can cause serious health problems. It’s the leading
cause of death from high blood pressure.

i. UNDER THE FIRST STEP ACT, THIS COURT HAS BROAD
AUTHORITY TO DETERMINE WHETHER EXTRAORDINARY AND
COMPELLING CIRCUMSTANCES EXIST TO MODIFY AGUILAR’S
SENTENCE AND RELEASE HIM TO HOME CONFINEMENT.

 

The First Step Act (“FSA”) expressly permits Aguilar to move this Court to
reduce his term of imprisonment and seek compassionate release. See 18 U.S.C. §
3583(c)C1)(A)(). Under normal circumstances, a defendant can seek recourse through
the courts after either (1) the BOP declines to file such a motion on his behalf; or (2)
there has been of lapse of 30 days from the warden’s receipt of the defendant’s
request, whichever is earlier. Id.

Note: Aguilar has filed a Motion for Compassionate Release with the FMC
Butner Warden on July 3, 2020. He followed up by filing a Regional Administrative
Remedy on July 21, 2020; because he disagree with the Warden’s decision. Then, on
August 25, 2020, Aguilar filed a BP-11 Administrative Remedy at the Central Office
because he did not get a response within the 35-day response period. So then on
September 10, 2020, Aguilar received a late response re: Administrative Remedy
Coordinator Regional Office, asking for an extension for Response due on September
25, 2020. On September 16, 2020, a Rejection Notice came from the Central Office

Appeal Remarks: Region accepted your Appeal o n August 31, 2020 and extended

 
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the due date: so Aguilar waited and extra three (3) weeks past due date. Now, Aguilar
has filed another BP-11 Administrative Remedy on October 12, 2020. Up to this date,
Aguilar has not received any decision yet as to his motion to reduce his sentence. See
Exhibit 2. On September 10, 2020, Aguilar received a late response, asking for an
extension. Up to this date, Aguilar has not received any decision yet as to his motion
to reduce his sentence.

Because more than 30 days have passed since Aguilar submitted his request for
compassionate release to the Warden of FMC Butner, exhaustion of administrative
remedies is not an issue in this case. See 18 U.S.C. § 3582(c)(1)(A).

Further, the policies underlying such requirements would not be furthered by
strict adherence in this instance. Giving the BOP time to decide administrative
applications for compassionate release predicated on COVID-19 concerns would not
“afford the parties and the courts the benefit of [the BOP’s] experience and
expertise.” Salfi, 422 U.S. at 765. The BOP already has provided its “expert” input
on such requests: its “COVID-19 Action Plan” lacks any consideration whatsoever
of compassionate release. See Federal Bureau of Prisons COVID-19 Action Plan,
available at hitps://www.bop.gov/resources/news/20200313 covid-19.jsp, And the
FCI Legal Department has no institution-specific requirements for requesting

compassionate release and no specific procedure in place for compassionate release

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during this pandemic. Thus, it would be futile to force defendants to exhaust their
administrative remedies—at the cost of their health and, potentially, their lives.

As discussed below, it is only a matter of time before COVID-19 spreads like
wildfire in the prisons. And, as the [prison’s] management plan itself acknowledges,
symptoms of COVID-19 can begin to appear 2-14 days after exposure, so screening
people based on observable symptoms is just a game of catch up.

As of October 16, 2020, we have 39,186,810 cases of COVID-19 and
1,101,692 deaths worldwide. The United States alone has 8,036,234 confirmed cases
of COVID-19 and 217,870. As there is no vaccine yet to fight the novel virus, the
government and medical experts, advise that to protect yourself and help prevent

spreading the virus to others, do the following:

. Wash your hands regularly for 20 seconds, with soap and water
or alcohol-based hand rub;

. Cover your nose and mouth with a disposable tissue or flexed
elbow when you cough or sneeze;

. Avoid close contact (1 meter or 3 feet) with people who are
unwell; and

° Stay home and self-isolate from others in the household if you

feel unwell.
With the speed and unpredictability of this pandemic worldwide—now U.S.
is the epicenter of the pandemic—waiting even 30 days will be too late. Accordingly,

this Court should exercise jurisdiction over Aguilar’s emergency motion for

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compassionate release and dispense with the BOP requirements under 18 U.S.C. §
3582(c)(1 (AG).

Indeed, in United States v. Wilson Perez, 17 Cr. 513 (AT) (S.D.N.Y. Apr. 1,
2020), ECF No. 98, the Honorable Analisa Torres deemed the exhaustion requirement
waived, and held that all three exceptions (futility, incapability, and prejudice) apply
to the instant circumstances. See also United States v. Latrice Colvin, No. 19 Cr. 179
(JBA) (D. Conn. Apr. 2, 2020), ECF No. 38 (granting compassionate release and
waiving exhaustion requirement); United States v. Zukerman, 16 Cr. 194 (AT),
2020WL 1659880 (S.D.N.Y. Apr. 3, 2020), at *2 (same); United States y Powell, 94
Cr. 316 (D.D.C. Mar. 28, 2020), ECF No. 98 (same).

A. “Extraordinary and Compelling Reasons” Warrant a
Reduction in Aguilar’s Sentence.

1. COVID-19 Is a Public Health Disaster That Threatens
Vulnerable Incarcerated Persons like Aguilar.

The COVID-19 pandemic continues to roil the United States. As December 11,
2020, the BOP has 124,611 federal inmates in BOP-managed institutions and 14,017
in community-based facilities. The BOP staff complement is approximately 36,000.
There are 7,166 federal inmates and 1,716 BOP staff who have confirmed positive
test results for COVID-19 nationwide. There have been 155 federal inmate deaths and

2 BOP staff member deaths attributed to COVID-19 disease. See

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https://www.bep.gov/coronavirus (last accessed on December 11, 2020). Federal
facilities are not immune. The numbers are likely higher, as testing is limited, See,
e.g., In the Matter of the Extradition of Manrique, 2020 WL 1307109, at *1 (N.D.
Cal. Mar. 19, 2020) (expressing concern about the infection rate within BOP facilities
given that “people are not being tested”).

Conditions of confinement create an ideal environment for the transmission of
highly contagious diseases like COVID-19. Because inmates live in close quarters,
there is an extraordinarily high risk of accelerated transmission of COVID-19 within
jails and prisons. Inmates share small cells, eat together and use the same bathrooms
and sinks. .... They are not given tissues or sufficient hygiene supplies”); Joseph A.
Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases
45(8):1047-1055, at https://academic.oup.com/cid/article/45/8/1047/344842 (noting
that in jails “[t]he probability of transmission of potentially pathogenic organisms is
increased by crowding, delays in medical evaluation and treatment, rationed access
to soap, water, and clean laundry, [and] insufficient infection-contrel expertise”).
BOP employees are complaining that they lack masks and gloves, hand sanitizer, and
even soap.

“The [BOP] management plan itself acknowledges [that] symptoms of

COVID-19 can begin to appear 2-14 days after exposure, so screening people based

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on observable symptoms is just a game of catch up. ... We don’t know who’s
infected.” Manrique, 2020 WL 1307109, at *1.10

Indeed, as the Second Circuit recently observed, present information about the
COVID-19 epidemic and the BOPs’ prior failings in 2019 to adequately protect
detainees and allow them access to counsel and their families following a fire and
power outages suggest that the virus’ impact will likely be “grave and enduring.” Fed.
Defs. of New York, Inc. v. Fed. Bureau of Prisons, No. 19-1778, 2020 WL 1320886,

at *12 (2d Cir. Mar. 20, 2020).

2. Aguilar’s Vulnerability to COVID-19 Due to His High

Medical Risk Is an Extraordinary and Compelling Reason
That Warrants a Sentence Reduction.

Aguilar is particularly vulnerable to COVID-19 because of his hypertension
and hypertensive heart disease. At the time of sentencing, the Court could not have
anticipated that Aguilar’s diseases will place him in the “high risk” category nor the
existence of the COVID-19. As the COVID-19 pandemic continues, it potentially
poses a particular issue for older people and people with pre-existing medical
conditions (such as diabetes, heart disease, lung disease, and autoimmune disease)
appear to be more vulnerable to becoming severely ill with the COVID-19 virus.

Lung Problems, Including Asthma

COVID-19 targets the lungs, so you’re more likely to develop severe symptoms

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if you have preexisting lung problems, such as: Moderate to severe asthma, Chronic
obstructive pulmonary disease (COPD), Lung cancer, Cystic fibrosis, Pulmonary
fibrosis. In addition to being an asthma trigger, smoking or vaping can harm your
lungs and inhibit your immune system, which increases the risk of serious
complications with COVID-19.

Heart Disease, Diabetes and Obesity

People with diabetes, heart disease, high blood pressure or severe obesity are
more likely to experience dangerous symptoms if infected with COVID-19. This may
be of particular concern in the United States, which has seen increasing rates of
obesity and diabetes over the years.

When people with diabetes develop a viral infection, it can be harder to treat
due to fluctuations in blood glucose levels and, possibly, the presence of diabetes
complications. There appear to be two reasons for this. Firstly, the immune system
is compromised, making it harder to fight the virus and likely leading to a longer
recovery period. Secondly, the virus may thrive in an environment of elevated blood
glucose.

Moreso, obesity and diabetes both reduce the efficiency of a person’s immune
system. Diabetes increases the risk of infections in general. This risk can be reduced

by keeping blood sugar levels controlled and continuing your diabetes medications

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and insulin. Your risk of serious illness may also be higher if you have heart diseases
such as cardiomyopathy, pulmonary hypertension, congenital heart disease, heart
failure or coronary artery disease.

How SARS-COV-2 Causes Disease and Death in COVID-19

“You'd think underlying Jung problems or immune system problems
will be the greatest risk,” says Dr. Levitt. “But it seems the biggest risk
factors have been hypertension, diabetes and obesity.” That has led
many scientists to suspect that the profound inflammation seen in severe
cases of COVID-19 may be yet another problem linked to
SARS-COV-2’s fondness for ACE2. People with diabetes, hypertension
and heart disease have more ACE2 on their cells as a response to the
higher levels of inflammation that come with their condition; ACE2 has
an anti-inflammatory effect. When SARS-COV-2 sticks to ACE2 and
reduces its ability to do its job, the underlying inflammation gets worse.

When inflammation gets completely out of control the body enters what
is called a cytokine storm. Such storms drive the most severe outcomes
for COVID-19, including multi-organ failure. There is thus an obvious
role for anti-inflammatory drugs. But knowing when to administer them
is hard. Go too late, and the storm will be unstoppable; go too early, and
you may dampen down an immune response that is turning the tide. A
recent article in the Lancet suggests that it would help if COVID-19
patients were routinely screened for hyper-inflammation to help identify
those who might benefit from anti-inflammatory drugs. But not
everyone is convinced today’s drugs have much to offer. “We tried [a
range of anti-inflammatory treatment] and it actually didn’t work,” says
Rajnish Jaiswal, who has been working on the front line of COVID-19
treatment at New York’s Metropolitan Hospital.

https://www.economist.com/briefing/2020/06/06/how-sars-cov-2-causes-disease-a

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Given Aguilar’s underlying health conditions, Aguilar will be particularly

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vulnerable? “when, not if’ coronavirus comes to the FMC Butner,’ an “incubator” for

the disease’ with “petri-dish-like conditions.”* According to public health experts,

 

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Roni Caryn Rabin, Coronavirus Threatens Americans With Underlying Conditions, NEW
YORK TIMES (Mar. 12,2020), hitos:/Avww.nytimes.com/2020/03/12/health/coronavirus-midlife
-conditions. htm! (“The new coronavirus is a serious threat to the elderly” and to “those with chronic
health conditions . . . Heart disease, cancer, diabetes — all of these can exacerbate a coronavirus
infection, studies show, increasing the odds of severe disease and death.”’)

3

Rich Schapiro, Coronavirus Could ‘Wreak Havoc’ on U.S. Jails, Experts Warn, NBC NEWS
(Mar, 12, 2020), https:/Awww.nbenews.com/news/us-news/coronavirus-could-wreak-havoc-u-s-jails~
experts-warnn | 156586 (“We're in a very perilous stage right now,” said Dr. Homer Venters, the
former chief medical officer of the New York City jail system. “It’s just a matter of time before we
see cases inside jails and prisons.”).

4

Martin Kaste, Prisons and Jails Worry About Becoming Coronavirus ‘Incubators’, NPR.
(Mar. 13, 2020), httos:/Awww-npr.ore/2020/03/1 3/8 1500273 5/prisons-and-jails-worry-about-
becomine-coronavirusincubators.

5

P. Leila Barghouty, U.S. Prisons Are Not Ready for Coronavirus, THE OUTLINE (Mar. 6,
2020), https://theoutline.conypost/8770/prison-coronavirus-covid-| 9-outbreak?zd=1] &zi=oixu2i52;
see also Kaiser Health News, Could Coronavirus Cause a National Prison Lockdown?, U.S. NEWS
& WORLD REPORT (Mar. 13,2020), bttps://www.usnews.com/news/healthiest- communities!
articles/2020-03-1 3/could-coronavirus-cause-anational-prison-lockdown (“Though small by
comparison, the federal system sheds light on issues many state, county and local officials are
grappling with now. Because the facilities are typically dense and crowded, they could become prime
breeding grounds for the highly contagious coronavirus.”); Chris Strohm, Prisons’ Coronavirus Risk
Puts Justice Department Under Pressure, BLOOMBERG (Mar. 12, 2020) (noting concerns that
coronavirus outbreak “could spark riots”); Courtney Bublé, Federal Prison Employees and Others
Question BOP’s Readiness for Coronavirus, GOV. EXEC. (MAR. 11,2020), httos:/Avww.govexec,
coni/management/2020/03/federal-prison-emplovees-and-others-question-bops-readiness-corona
virus/163692/ (“History has shown time and time again that the Federal Bureau of Prisons has never
been a proactive agency, but instead a reactive agency.”); Joshua Eaton, Federal Prisons Don’t Have
Coronavirus Test Kits for Inmates, ROLL CALL (Mar. 6, 2020), bttps:/Awww.rollcallcom/
2020/03/06/federal-prisons-dont-have-coronavirus-test-kits-for-inmates/ (“Federal prisons, whose
inmates may be a high-risk population for a coronavirus outbreak, do not have kits to test for the
disease available.”).

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incarcerated individuals “are at special risk of infection, given their living situations,”
and “may also be less able to participate in proactive measures to keep themselves
safe;” “infection control is challenging in these settings.”° Outbreaks of the flu
regularly occur in jails, and during the HIN1 epidemic in 2009, many jails and
prisons dealt with high numbers of cases.’

The nearly 900 prisoners at FMC Butner, where Aguilar is housed, face
especially high risk. To start, incarcerated people are being confined three to a cell
and share showers and common areas, including the food service dining area, with
larger groups. While the Centers for Disease Control (CDC) recommends that we all
maintain at least a distance of 6 feet, FMC Butner’s cells are approximately 10 feet
by 12 feet, with bunks and lockers taking up a significant portion of each, making it
impossible to properly distance. Additionally, people incarcerated at FMC Butner are
expected to continue working on-site without the proper sanitation equipment needed

to clean their supplies. Prison officials have explicitly stated that sanitation equipment

is “not a priority” for incarcerated workers. Inmates have retaliation from FMC

 

6

“Achieving A Fair And Effective COVID-19 Response: An Open Letter to Vice-President
Mike Pence, and Other Federal, State, and Local Leaders from Public Health and Legal Experts in

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Butner’s safety department when inmates ask for chemical disinfectants and mops.
Meanwhile, these same workers are only getting paid 10 to 20 cents per hour — well
below the $2 they need to pay for a “sick slip” to get their temperatures checked.
While incarcerated, people have expressed concerns about contracting the virus, FMC
Butner has threatened them with solitary confinement, also known as “the hole.”
There’s widespread research showing that the isolation of solitary can cause a number
of impairments, including hallucination, panic attacks, paranoia, sensitivity to
external stimuli, and problems with concentration and memory. In super-maximum
prisons, 91% of those in solitary suffered from anxiety, 80% from lethargy and
headaches, and 77% from chronic depression. Making matters worse, FMC Butner
cut phone time for inmates and blocked email addresses, limiting opportunities to
connect with the outside world for help.

As of July 20, 2020, more than 4,000 people confined in the federal system had
tested positive, and 97 had died. This includes 25 deaths at FMC Butner alone,
making it the deadliest outbreak among federal prisons in the country.

Releasing Aguilar not only helps protect him from infection, it will help
alleviate the burdens on the already overtaxed BOP medical system. Indeed, the
standard of medical care at Butner has previously been criticized as inadequate even

with respect to routine medical treatment. Moreover, it is unclear whether Aguilar

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will even be able to take basic proactive preventative measures, like regular
hand-washing and use of hand-sanitizer (even assuming such products are available).

In short, Aguilar is particularly vulnerable to infection, and, if the virus does
infect him, it is more likely to be fatal. See United States v. Jesus Antonio Mondaca,
Sr., 89 Crim. 000655 at 6 (S.D. Ca. March 3, 2020 ) (DMS) (compassionate release
petition granted, where, among other reasons, elderly defendants had “become
increasingly vulnerable to victimization within the correctional facility”). The danger
of the situation that Aguilar and other inmates like him face raises constitutional
concerns of cruel and unusual punishment, given that they are at greater risk of
contracting lethal infections such as the novel coronavirus due to factors such as age
or pre-existing medical conditions. See Estelle v. Gamble, 429 U.S. 97, 104-05
(1976) (“[D]eliberate indifference to serious medical needs of prisoners constitutes
the unnecessary and wanton infliction of pain proscribed by the Eighth
Amendment.”) (citation and internal quotation marks omitted). Indeed, calls for
releasing prisoners at risk from coronavirus have come from all quarters. Secretary
of State Mike Pompeo has called for Iran to release Americans detained there because

of the “deeply troubling” “[r]eports that COVID-19 has spread to Iranian prisons.”

 

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Jennifer Hansler and Kylie Atwood, Pompeo calls for humanitarian release of wrongfully
detained Americans in Iran amid coronavirus outbreak, CNN (Mar. 10, 2020) at

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Courts across Iran have granted 54,000 inmates furlough as part of the measures to
contain coronavirus across the country.” Closer to home, Brooklyn District Attorney
Eric Gonzalez, joined by public health experts, has asked Governor Cuomo to grant
emergency clemency to elderly and sick prisoners,'° as has Manhattan District
Attorney Cyrus Vance." District Attorney Gonzalez has acknowledged that, “Once
the virus spreads to our prisons, older incarcerated people and those with preexisting
health problems will be in the virus’s crosshairs and the prisons will not have the
capacity to care for them,””

Hence, it is appropriate for Aguilar to be released into an environment where
he and his loved ones can control and direct his medical care. It is important for all

of us to remember that convicted criminals are sent to prison as punishment—not for

punishment. People who are severely debilitated or are in the midst of dying are

 

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Claudia Lauer and Colleen Long, US Prisons, Jails On Alert for Spread of Coronavirus, The
Associated Press (Mar. 7, 2020) at hitps://apnews.com/afvSb0a3 BaaabedbebOS9092db3 56697.

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Sarah Lustbader, Cornoavirus: Sentenced to COVID-19, The Daily Appeal (March 12, 2020),
hitos://theappeal ore/sentenced-to-covid-L9-2/,
i

James D. Walsh, Will Rikers Island Free Inmates Because of the Coronavirus?, Intelligencer
(Mar. 17 2020), https://nvmag.com/intelligencer/2020/03/will-rikers~island-free-inmates-because-of-

Attorney Cy Vance, along with 29 other prosecutors across the country, endorsed temporary
release.”’).

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Td.

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usually no longer a threat to society, and there is not a compelling social advantage

to keeping them in prison.

Note:

According to the Centers for Disease Control and Prevention (“CDC”),
COVID-19 is a new disease and there is limited information regarding
risk factors for severe disease. Based on currently available information
and clinical expertise, older adults and people of any age who have
serious underlying medical conditions might be at higher risk for severe
illness from COVID-19.

Based on what we know now, those at high-risk for severe illness from
COVID-19 are:

. People 60 years and older

° People who live in a nursing home or long-term care facility

People ofall ages with underlying medical conditions, particularly ifnot
well controlled, including:

° People with chronic lung disease or moderate to severe asthma
. People who have serious heart conditions

° People who are immunocompromised

. Many conditions can cause a person to be immunocompromised,

including cancer treatment, smoking, bone marrow or organ
transplantation, immune deficiencies, poorly controlled HIV or
AIDS, and prolonged use of corticosteroids and other immune
weakening medications

. People with severe obesity (body mass index [BMI] of 40 or

higher)
. People with diabetes
. People with chronic kidney disease undergoing dialysis
. People with liver disease

are the hallmark of those who are most endangered by the instant pandemic, These

are “extraordinary and compelling reasons” for his release. See Note 1(A), § 1B1.13

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(expressly recognizing that “other reasons” may exist for granting compassionate
release), see Note 1(D), § 1B1.13 Note 1(D) (recognizing that extraordinary and
compelling reasons exists “other than, or in combination with, the reasons described
in subdivisions (A) through (C).”). Here, Aguilar’s high susceptibility to COVID-19
falis within the purview of this catchall. Moreover, courts have noted that while §
1B1.13 provides “heipful guidance” for determining what constitutes an extraordinary
and compelling reason to warrant a sentence reduction, the inquiry does not end there.
Rather, district courts have the freedom to shape the contours of what constitutes an
extraordinary and compelling reason to warrant compassionate release. Given the
highly infectious nature of COVID-19, the inability in a facility like FMC to practice
any of the hygienic and social distancing techniques that the Center for Disease
Control has put in place to prevent rapid transmission, and the fact that Aguilar
suffers from ailments that have already been identified as “high risk,” this Court
should find that Aguilar’s legitimate medical risk is a sufficiently extraordinary and
compelling basis for granting compassionate release.

A recent letter by fourteen U.S. senators of both parties underscores this
position. Writing to U.S. Attorney General William Barr and BOP Director Michael
Carvajal, they stated: “[We] urge you to take necessary steps to protect [inmates in

Federal custody] particularly by using existing authorities under the First Step Act

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(FSA). ... We have reviewed the Federal Bureau of Prisons (BOP) COVID-19
Action Plan, which . . . notably does not include any measures to protect the most
vulnerable staff and inmates. ... [I]t is important... that the most vulnerable inmates
are released or transferred to home confinement, if possible.” And as the Second
Circuit noted about COVID-19 in a unanimous recent opinion, “The impact of this
recent emergency on jail and prison inmates, their counsel ..., the United States
Attorneys, and the BOP, including the individual Wardens and the personnel of each
facility, is just beginning to be felt. Its likely course we cannot foresee. Present
information strongly suggests, however, that it may be grave and enduring.” Fed.
Defs. of New York, Inc., 2020 WL 1320886, at *12.

Finally, in the last few months, other jails and prisons have already started to
proactively release elderly and sick inmates who are at high risk of infection, as well
as releasing as many nonviolent offenders as possible in an effort to reduce the
incarcerated population and thus reduce the risk of spread. For example, on March
25, 2020, New York City announced that it would release 300 inmates from Rikers
Island. Approximately 1,700 inmates have been released from Los Angeles County
Jails, and 1,000 inmates are to be released from New Jersey jails. Therefore, while
COVID-19 remains an unprecedented emergency, many states (and politicians) have

recognized that they have a duty to flatten the curve inside incarcerated spaces. So,

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too, should this Court.

3, Courts Have Granted Compassionate Release in Light of
the Instant Pandemic.

Courts in the Southern and Eastern Districts of New York have granted
compassionate release based on COVID-19. See United States v. Wilson Perez, No.
17 Cr. 513 (AT) (S.D.N.Y. Apr. 1, 2020), ECF No. 98, (granting release based on
health issues and finding court could waive exhaustion requirement; government did
not object based on defendant’s medical conditions); United States v. Mark Resnick,
No. 12 Cr. 152 (CM) (S.D.N_Y. April 2, 2020), ECF No. 461 (granting compassionate
release because of defendant’s age and medical conditions in light of COVID-19);
United States v. Eli Dana, No. 14 Cr. 405 GMF) (S.D.N.Y. Mar. 31, 2020), ECF No.
108 (granting compassionate release motion, where government consented, because
of defendant's age and medical conditions and the risk posed by COVID-19); United
States v. Damian Campagna, No. 16 Cr. 78 (LGS), 2020 WL 1489829, at *1
(S.D.N.Y. Mar. 27, 2020) (granting compassionate release sentencing reduction to
defendant convicted of firearms offenses based on defendant’s health and threat he
faced from COVID-19; government consented to reduction and agreed health issues
and COVID-19 were basis for relief); United States v. Daniel Hernandez, No. 18 Cr.

834 (PAE) (S.D.N.Y. Apr. 1, 2020), ECF No. 446 (granting compassionate release

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after BOP denied the request and converting remaining sentence to home
confinement); United States v. Jose Maria Marin, No. 15 Cr, 252 (PKC) (E.D.NLY.
Mar. 30, 2020), ECF No. 1325-1326 (waiving exhaustion requirement and granting
compassionate release to defendant based on special risks he faced from COVID-19).

So, too, have courts across the country. See United States v. Andre Williams,
No. 04 Cr. 95 (MCR) (N.D. Fla. Apr. 1, 2020) (granting release based on defendant’s
health and COVID-19); United States v. Teresa Ann Gonzalez, No. 18 Cr. 232 (TOR)
(E.D. Wa. Mar. 25, 2020), ECF No. 834 (waiving any further exhaustion attempts as
futile and granting compassionate release based on defendant’s health issues and
COVID-19 pandemic); United States v. Jeremy Rodriguez, No. 03 Cr. 271 (AB) (E.D.
Pa. Apr. 1, 2020), ECF No. 135 (finding court has independent authority to determine
“extraordinary and compelling” reasons and granting compassionate release based in
part on defendant’s health and COVID-19; no exhaustion issue because 30 days had
passed); United States v. Pedro Muniz, No. 09 Cr. 199 (S.D. Tex. Mar. 30, 2020},
ECF No. 578 (granting compassionate release based on health conditions that made
inmate susceptible to COVID-19); United States v. Samuel H. Powell, No. 94 Cr. 316
(ESH) (D.D.C. Mar. 27, 2020), ECF No. 97 (granting compassionate release for
55-year old defendant with respiratory problems in light of outbreak, without waiting

for 30 days or other exhaustion of administrative remedies through the BOP); United

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States v. Agustin Francisco Huneeus, No. 19 Cr. 10117 (IT) (D. Mass. Mar. 17,
2020), ECF No. 642 (granting defendant’s emergency motion based on COVID-19);
United States v. Coker, No. 3:14-CR-085-RLJ-DCP-20, 2020 WL 1877800 (E.D.
Tenn. Apr. 15, 2020) (Memorandum Opinion, granting compassionate release based
in part on COVID-19); Samy v. United States, No. 2:16-cr-20610-1, 2020 WL
1888842 (E.D. Mich Apr. 16, 2020) (Order granting petitioner’s motion for
reconsideration of order denying compassionate release based in part on COVID-19);
US v. Muniz, No. 4:09-cr-199-DJB (S.D.Tex. Mar 30, 2020) Order Granting CR, Dkt.
578 releasing defendant serving 188-month sentence for drug conspiracy in light of
vulnerability to COVID-19); “United States v. Hill, 2020 WL 2542725, at *1 (D.
Conn. 2020) (prisoner released from FCI Danbury had a splenectomy that
compromised his immune system and hypertension)” United States v. Kelley, No.
3:18-cr-00269 (JAM), 8 n.8 (D. Conn. Sep. 21, 2020). Hence, Aguilar should be
granted the same relief.

4. Alleyne v. United States, 570 U.S. 99, 103 (2013) Held
That Any Fact Which Increases A Mandatory Minimum

Sentence is An Element That Must Be Submitted to A Jury.

A. Drug Weight

The drug weight is an element of the offense and that any fact that increases a

mandatory minimum penalty is an element that must be charged in an indictment and

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proved to a jury beyond a reasonable doubt. Apprendi v. New Jersey, 530 U.S. 466,
120 S.Ct. 2348, 147 L.Ed.2d 435 (2000) and Alleyne v. United States, 570 U.S. 99,
133 S.Ct. 2151, 186 L.Ed.2d 314 (2013). Under those two cases, if Stanback were
sentenced today, his sentence would be based on distributing 5 kilograms or more of
cocaine, and not at least 90 kilograms of crack cocaine, and a combined amount (321
kilograms) of powder cocaine.

Note: Aguilar was found guilty on Count 1: conspiracy to distribute and
possess with intent to distribute more than 50 grams of pure methamphetamine only.
The PSR held him responsible for at least 1.5 kilograms of methamphetamine-ICE,
which was proved to a jury beyond a reasonable doubt.

In Apprendi, the Supreme Court held that the Sixth Amendment to the
Constitution requires that any fact that increases the penalty for a crime beyond the
prescribed statutory maximum, other than the fact of a prior conviction, must be
submitted to a jury and proved beyond a reasonable doubt. In Alleyne, the Court
applied Apprendi to the federal mandatory minimum and maximum sentencing
scheme and held that because mandatory minimum sentences increase the penalty for
a crime, any fact that increases the mandatory minimum is an element of the crime
that must be submitted to the jury. /d. at 116, 133 S.Ct. 2151 (overruling Harris v.

United States, 536 U.S. 545, 122 S.Ct. 2406, 153 L.Ed.2d 524 (2002) ).

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Neither Apprendi nor Alleyne are retroactively applicable on collateral review.
See United States v. Sanders, 247 F.3d 139, 146 (4" Cir. 2001) (joining other circuits
in finding that Apprendi does not apply retroactively to cases on collateral review),
and United States v. Stewart, 540 Fed. Appx. 171 (4" Cir. 2013) (per curiam) (noting
that Alleyne has not been made retroactively applicable to cases on collateral review).
However, for a period of time after Apprendi was decided, including before passage
of the Fair Sentencing Act in 2010, the jury ordinarily made a finding regarding the
threshold penalty, but the court could and did impose statutory-minimum penalties
regardless of any jury finding. That practice was authorized by Harris, and Alleyne
did not overrule Harris until three years later, and three years after the Fair
Sentencing Act was enacted. Nonetheless, Congress, when drafting the First Step Act
in 2018, surely did not intend for courts to disregard the last six years of Supreme
Court federal sentencing jurisprudence and this court declines to do so.

Alleyne made clear that in order to preserve a defendant’s Sixth Amendment
right to a jury trial, any fact that increases the statutory mandatory minimum sentence
is an element of the crime which must be submitted to the jury. Al/eyne, 570 U.S. at
116, 133 S.Ct. 2151. In this case, Aguilar was found guilty of conspiracy to distribute
and possess with intent to distribute more than 50 grams of pure methamphetamine

(Count 1). Under Alleyne, this court is not free to ignore that finding and impose a

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penalty based on at least 1.5 kilograms of methamphetamine-ICE referenced in the
PSR. Thus, although Apprendi and Alleyne are not retroactively applicable on
collateral review, this court joins other courts in finding that their holdings are
applicable in the context of the First Step Act. See United States v. Simons, No.
07-CR-00874, 375 F.Supp.3d 379, 487, 2019 WL 1760840 at *6 (E.D.N.Y, Apr. 22,
2019) (citing Alleyne and finding that statutory penalties are determined by facts
submitted to a grand jury, trial jury, or established by a guilty plea while findings by
a judge may be used to determine a sentence within the statutory penalties and cannot
change “the mandatory minimum sentence now applicable”), United States v. Dodd,
No. 3:03-CR-18-3, 372 F.Supp.3d 795, 2019 WL 1529516 (S.D. Iowa, Apr. 9, 2019)
(finding in a First Step Act case that “[b]oth Apprendi and Alleyne are binding on this
Court for sentencings held today.”); United States v. Davis, No. 07-CR-245(S)(1),
2019 WL 1054554 (W.D.N.Y. Mar. 6, 2019), appeal docketed, No. 19-874 (2™ Cir.
Apr. 5, 2019) (“[I]t is the statute of conviction, not actual conduct, that controls
eligibility under the First Step Act.”); see also United States v. Laguerre, No.
5:02-CR-30098-3, 2019 WL 861417 (W.D. Va. Feb. 22, 2019) (relying without
discussion on charged drug weight rather than PSR weight to find defendant eligible

for relief).

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B. Discretion of the Court

The court under 18 U.S.C. § 3582(c)(1)(B) which states that “the court may
modify an imposed term of imprisonment to the extent otherwise expressly permitted
by statute”, i.e., the First Step Act of 2018, Section 404, “Application of the Fair
Sentencing Act”, and having considered such motion, and taking into account the
policy statement set forth at USSG §1B1.10 and the sentencing factors set forth in 18
U.S.C. § 3553(a), to the extent that they are applicable, ordered that the motion be
denied. Aguilar is currently serving a 360-month sentence,

Here, Aguilar claims that if he had been prosecuted after passage of the Fair
Sentencing Act and pursuant to Alleyne and Apprendi, the government would have
had to allege 50 grams or more of pure methamphetamine.

Applying the First Step Act calculations to this case, and pursuant to Alleyne
and Apprendi, Aguilar’s Base Offense Level will be reduced to level 30. See also
2018 Sentencing Guidelines, indicating that “at least 50 G but less than 150 G of
“Tce”” calls for a Base Offense Level of 30, pursuant USSG § 2D1.1(c)(5). Aguilar
received a 2-level firearm and 2-level role in the offense enhancements, which will
bring his Total Offense Level down to 34. Paired with a Criminal History Category

I, his guideline imprisonment range would now be 151 to 188 months.

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5. In Light of United States v. Mccoy, Case No 20-6821, 2020
U.S. App. Lexis 37661 (4" Cir, Dec. 2, 2020), Sentence
Unfairness and Rehabilitation Gives Sentencing Judges the
Right to Make Sentence Reductions Under §
3582(c)1)(A)(T).

On December 2, 2020, the Fourth Circuit affirmed the district court’s
grant of defendants’ motions to reduce their sentences under the First
Step Act and reduce their sentences to time served. In these consolidated
appeals, defendants were convicted of robberies and accompanying
firearms violations under 18 U.S.C. 924(c).

The court concluded that the district courts appropriately exercised the
discretion conferred by Congress and cabined by the statutory
requirements of 18 U.S.C. 3582(c)(1)(A). The court saw no error in the
district courts’ reliance on the length of defendants’ sentences, and the
dramatic degree to which they exceed what Congress now deems
appropriate, in finding “extraordinary and compelling reasons” for
potential sentence reductions. In this case, the district courts took
seriously the requirement that they conduct individualized inquiries,
basing relief not only on the First Step Act’s change to sentencing law
under section 924(c) but also on such factors as defendants’ relative
youth at the time of their offenses, their post-sentencing conduct and
rehabilitation, and the very substantial terms of imprisonment they
already served. The court concluded that these individualized
determinations were neither inconsistent with any “applicable”
Sentencing Commission guidance nor tantamount to wholesale
retroactive application of the First Step Act’s amendments to section
924(c).

The compassionate release statute, 18 USC § 3582(c)(1 (A)(), requires
that any sentence reduction be “consistent with applicable policy
statements issued by the Sentencing Commission.” The policy statement
implicated by the statute is set out in USSG § 1B 1.13, a Guideline which
lists three very specific reasons for granting compassionate release, and
a fourth “catch-all” provision permitting grant of a compassionate
release motion if “as determined by the Director of the Bureau of
Prisons, there exists in the defendant’s case an extraordinary and

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compelling reason other than, or in combination with, the [other three]
reasons.”

USSG § 1B1.13 was written before the First Step Act authorized
inmates to file their own sentence reduction motions. The Guideline has
never been changed, because the Sentencing Commission has lacked a
quorum, and thus has been able to conduct no business, since 2018. But
that has not stopped the government from arguing that compassionate
release motions could not be granted because the Director of the BOP
has not decided that possessing COVID-19 risk factor is an
extraordinary and compelling reason for a sentence reduction.

Many judges decided that because § 1B1.13 was written back in the day
when only the BOP could file the motion, it was a relic that could be
ignored. But not all. The result has been a terrible disparity between
district courts in granting compassionate release motions: the same set
of facts that justify a sentence reduction in front of one judge would be
rejected by another.

Last September, the 2nd Circuit laid down the law on compassionate
release in United States v. Brooker (some are calling the case United
States v. Zullo), ruling that district courts have broad discretion to
consider “any extraordinary and compelling reason for release that a
defendant might raise” to justify a sentence reduction under §
3582(c)(1)(A), and that Guideline § 1B1.13 only applies to
compassionate release motions brought by the BOP (which would be
virtually none of them). Then, two weeks ago, the Sixth Circuit followed
Brooker/Zullo in United States v. Jones, and the Seventh agreed in
United States v. Gunn.

It may be hard to remember that compassionate release motions get filed
for reasons other than COVID-19. One reason advanced by some
defendants has been that they received horrific sentences because of
stacked § 924(c) convictions. Recall that before First Step, if you robbed
a bank with a gun, you got maybe 87 months for the robbery and a
mandatory 60 months more for the gun. But rob three banks on
successive days, and you would get 87 months for the robbery, 60 more

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months for the gun used in the first robbery, 300 months more for the
gun used the next day, and 300 more months for the gun used the third
day. This was because § 924(c) specified that each subsequent § 924(c)
conviction carried 300 months. First Step changed that, making clear
that the 300-month sentence only applied if you committed a § 924(c)
offense after being convicted of the first offense.

First Step did not make the § 924(c) changes retroactive. Nevertheless,
after it passed some guys with stacked § 924(c) violations filed
compassionate release motions, arguing that it was extraordinary and
compelling to make them serve much longer sentences when the law had
changed, and people being sentenced now did not face the same penalty.

One guy in Virginia, Thomas McCoy, and three others from Maryland
filed such cases, Their respective district courts agreed with the motions,
cutting their sentences to time served. But the government appealed,
arguing that the sentence reduction did not fit § 1B1.13, and even if they
did, the fact that the defendants had stacked § 924(c) sentences was not
extraordinary and compelling because in First Step, Congress decided
against retroactivity of the First Step changes to § 924(c). Last week, the
4th Circuit sided with the defendants, in the process pushing the bounds
of compassionate release to new horizons.

The Fourth Circuit agreed with Brooker, Gunn and Jones that § 1B1.13
— because it refers only to compassionate release motions filed by the
BOP - is not an “applicable policy statement” within the meaning of the
statute, and thus may be ignored.

Beyond that, the Fourth rejected the Government’s argument that there
was nothing wrong with holding the defendants to their draconian
sentences, ruling instead that “the district courts in these cases
appropriately exercised the discretion conferred by Congress... We see
no error in their reliance on the length of the defendants’ sentences, and
the dramatic degree to which they exceed what Congress now deems
appropriate, in finding “extraordinary and compelling reasons” for
potential sentence reductions...”

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The appellate holding is huge, suggesting that sentence unfairness and
rehabilitation gives sentencing judges the right to make sentence
reductions under § 3582(c)(1 ){A)(i).

See United States v. McCoy, Case No 20-6821, 2020 U.S. App. LEXIS 37661 (4"

Cir., Dec. 2, 2020). Hence, same relief should be applied in the instant case.

IV.THE CARES ACT

On March 13, 2020, President Donald Trump declared a state of emergency
due to the novel COVID-19 outbreak. On March 25, the U.S. Senate passed the
Coronavirus Aid, Relief, and Economic Security Act (the CARES Act) to provide
emergency assistance to people affected by the outbreak.

The CARES Act reflects our country’s immense concern for people who have
been and will be harmed by the pandemic, including people incarcerated in the
Federal Bureau of Prisons (BOP). Section 12003(b)(2) ofthe CARES Act permits the
Director of the BOP to lengthen the maximum amount of time that a prisoner may be
placed in home confinement, ifthe Attorney General finds that emergency conditions
will materially affect the functioning of the BOP.

Previous law dictated that the Director of the BOP had authority to place a
prisoner in home confinement for the shorter of 10 percent of a person’s term of
imprisonment or 6 months, but the CARES Act greatly expands that authority to

allow prisoners to be transferred to home confinement earlier in their sentence. Under

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the CARES Act, the Director may lengthen the maximum term of home confinement
to whatever he determines appropriate during the pandemic. Given the current state
of emergency, we urge you to use the CARES Act to quickly transfer prisoners who
are at high risk for complications from COVID-19 to home confinement.
COVID-19 is an unprecedented crisis, with widespread harm. The CDC has
issued guidance that people over 60 years old and individuals with chronic medical
conditions are at a higher risk of contracting COVID-19 and of experiencing more
serious complications or death as a result of the illness. The CDC has also advised
these individuals to avoid crowds, stay at home as much as possible. Similarly, the
CDC has advised that all people practice heightened levels of hygiene and “social
distancing,” limiting close contact with others as much as possible. People in BOP
custody are unable to take any such proactive steps to protect themselves. Indeed,
conditions of confinement and the needs of security are often in direct contrast with
best practices for limiting contagion and promoting public health during a pandemic.
It is indisputable that COVID-19 and related emergency conditions materially
affect the functioning of the BOP. The BOP has suspended visitation and imposed a
14-day quarantine on new transfers. Programming and meal schedules have been

dramatically altered.

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Of special concern is the fact that many facilities utilize close quarter housing
and are unable to adequately distance prisoners, all but guaranteeing a rapid spread
of the virus once it takes hold in a facility. That COVID-19 will further materially
alter BOP’s functioning in the weeks and months to come is assured. The spread of
the virus within BOP facilities puts prison staff at high risk of contracting the disease
at their workplace. Staffing shortages, including of health care workers, are bound to
occur as personnel fall ill and self isolate. The BOP’s medical facilities are not staffed
or equipped to deal with high numbers of seriously ill people who will need critical
care that could last for weeks, as serious cases of COVID-19 do.

Meanwhile, many individuals under BOP custody who are nearing release have
already been transferred to residential reentry centers (RRCs). Unfortunately,
conditions at RRCs have also been greatly impacted by COVID-19. Movement has
been restricted, employment opportunities have halted, people are confined in tight
quarters and don’t have the resources to comply with CDC guidance addressing their
hygiene or freedom to practice social distancing. Individuals in home confinement
would be far better equipped to prevent the spread of COVID-19, and they would be
a far lower risk to the BOP or the public’s health care system.

Here, although those factors fully support the substantial sentence originally

imposed, in the current context of Aguilar’s advanced age and incurable medical

37

 
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condition, Aguilar’s family believes compassionate release is appropriate at this time.
In light of the outbreak, Aguilar’s release does not present a danger to the
safety of any other person or to the community and is in keeping with all relevant §
3553(a) factors. Releasing Aguilar will not only protect him from the risk of COVID-
19 infection but also avoids the unavoidable impact upon the quality of the medical
care he requires by taxing an already taxed system.’? Moreover, his release will have
the added benefit of opening a medical bed to other inmates who will need the
medical attention with the coronavirus. Thus, compassionate relief is warranted.
Aguilar is a non-violent and non-sex offender, in fact, Aguilar had no felony
prior convictions prior to the instant offense (he is in Criminal History Category I),
hence, his recidivism risk is minimal. Based on his medical condition and the world’s
take on the global pandemic right now, Aguilar has met all the requirements for
compassionate release. Further, since Aguilar’s incarceration began, he has taken
numerous steps to attempt to improve himselfin “post-conviction rehabilitation.” See
Exhibit 3. This effort and its obvious achievements should be welcome news to this
Honorable Court due to the fact that Aguilar has taken continuous strides to prepare

himself for reentry back into society to be a law abiding citizen.

 

13

Natalie Hinton, Comment, Curing the BOP Plague with Booker: Addressing the Inadequate
Treatment in the Bureau of Prisons, 41 J. Marshall L. Rev. 219, 231 (2007) (noting “BOP
overpopulated and understaffed for years.)

38

 
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In addition to Aguilar being a “minimal risk,” he does note pose a danger to the
safety of any other person or community if released. [See USSG § 1B1. 13(2)]
Foreseeability of Extraordinary and Compelling Reasons. Aguilar does not dispute
his crime was serious. However, it occurred 15 years ago; and his behavior while in
custody should militate against a finding of future danger to any person, Aguilar has
worked on himself and stayed out of trouble, and has been Drug-free for all these
years, and wants so much better for himself, his family and the Community that we
all live in. Aguilar has turned his Life to the (Lord), to always have peace and joy, in
his heart, and to live a different life far away from drugs and crime. Aguilar has
learned his lesson 100% without a doubt.

If granted compassionate release, Aguilar will reside with his parents, Kathy
and Randy Miller, residing at 210 Shoreline Rd East Tawakoni, TX 75472— where he
will be able to isolate himself and take the same precautionary measures that all
Americans are taking: frequent hand washing, sanitizing his living space, and seeking
medical care if necessary. None of these precautions are available in prison. Aguilar
will receive medical care from his doctors, who are located near their home. Further

information about these release plans upon request.

39

 
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V. CONCLUSION
For the foregoing reason, Aguilar prays this Court would consider his Motion
for Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A) and First Step Act
of 2018, based upon the “extraordinary and compelling reasons” and reduce his
sentence. Also, Aguilar respectfully requests this Court to consider BOP record, his
medical condition, and his circumstances and join in recommending his release.

Respectfully submitted,

\
Dated: December a3 2020. [Neon > ‘ Lee

ANTHONY STEVEN AGUILAR
REG. NO. 33985-177

EMC BUTNER

FEDERAL MEDICAL CENTER
P.O. BOX 1600

BUTNER, NC 27509

Appearing Pro Se

CERTIFICATE OF SERVICE

I hereby certify that on December XA, 2020, a true and correct copy of the
above and foregoing Motion for Compassionate Release pursuant to 18 U.S.C. §
3582(c)(1)(A) and First Step Act of 2018 was sent via U. S. Mail, postage prepaid,
Alex C. Lewis, Assistant U.S. Attorney at U.S. Attorney’s Office, 801 Cherry Street
Suite 1700, Fort Worth, TX 76102-6882.

SS

ANTHONY STEVEN AGUILAR

40

 

 

 
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Attachments
1) In Forma Pauperis Declaration
2) Inmate Trust Fund Account for Last 6 Months
3) Affidavit for Residence
4) Male Custody Classification Form
5) Male PATTERN Risk Scoring
6) Progress Report
7) Sentence Computat:ton-Data

B) Oicdoce’s Of Residenre

G ; Home Conkinement Rei pers
MIA Denied OY Werdta®

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/ Age
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 42 of 96 PagelD 5116

AFFIDAVIT OF KATHY MILLER

My name is Kathy Miller. } am Anthony Aguilar’s mother. | swear the foregoing statements are
true.

Once Anthony is released he can live with me at my home address 210 Shoreline Rd. East
Tawakoni, Texas 75472.

 

Anthony will have his own bedroom and bath. | will provide any and all care on his behalf. Any
appointments that is required of him. | will provide transportation to and from.

o “)
Signed this CX.) day of

aM So.
Kathy Miller S

  

VEAL

Personally appeared before me Kathy Milleron (i) Get

and affirms the above affidavit.

wy ofy ‘

 

i
i

f

“Notary Public for the State of Texas

HAYLEE LONDON
Notary 1D #132538306

My Commission Expires B
June 25, 2024 ,

 

 
_ PPG? Page 1 of 1
: Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 43 0f 96 PagelD 5117

BUHEA 606.00 * MALE CUSTODY CLASSIFICATION FORM * 10-01-2020
PAGE OO1 oF OO1 10:16:48
(A} IDENTIFYING DATA
REG NO..: [33985-177: FORM DATE: 10-01-2020 ORG: BUH

NAME....: AGUILAR, ANTHONY STEVEN
MGTV: NONE

PUB SFTY: SENT LGTH _ MVED:

(B) BASE SCORING
DETAINER: (0) NONE SEVERITY.......: €3) MODERATE
MOS REL.: 129 CRIM HIST SCORE: (00) 1 POINT
ESCAPES.: (0) NONE VIOLENCE.......! (1) > 10 YRS MINOR
VOL SURR: (0) N/A AGE CATEGORY...: (2) 36 THROUGH 54

EDUC LEV: (0) VERFD HS DEGREE/GED DRUG/ALC ABUSE.: (0) NEVER/>5 YEARS
(C} CUSTODY SCORING

TIME SERVED.....: (€4) 26-75% PROG PARTECIPAT: (1) AVERAGE
LIVING SKILLS...: (2) GooD TYPE DISCIP RPT: (€5) NONE
FREQ DISCIP RPT.: (3) NONE FAMILY/COMMUN..: (C4) GOOD

--- LEVEL AND CUSTODY SUMMARY ---
BASE CUST VARIANCE SEC TOTAL SCORED LEV MGMF SEC LEVEL CUSTODY CONSIDER
+6 +19 -3 +3 LOW N/A TN DECREASE

GO0005 TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESTRED

https://bop.tcp.doj.gov:9049/SENTR Y/J1PPD50.do 10/1/2020

 
Case 4:05-cr-00195-A_DAJALERATBERN RISK SEORINGage 44 of'96-. Pagelb 5118
Register Number: 33985-177 Date: 10/1/2020
Inmate Name: AGUILAR, Anthony Steven

POPORED EU ABS
Click on gray dropdown box te select, then ciick on
droptiown arrow

<=
Walsh w/Conviction oo - No

3. Violent Offense (PATTERN) ee No

Criminal History Points _. oe. 0-1 Points
a 2 rit 2-3 Points
4-6 Points
7-9 Points
10-12 Points
> 12 Paints
None
> 10 Years Minor
5-10 Years Minor
<5 Years Minor, Serious
None
> 10 Years Minor
> 15 Years Serious
5-10 Years Minor
20 - 15 Years Seriozs
<5 Years Minor
§ - 10 Years Serious
<5 ¥. Serious
wipigen oe . Not Enrolled
“HS Degree / GEL Enrolled in GED
HS GED
No DAP efed
NRDAP
RDAP Com e
No
0
1
2
>2
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1
2
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Report ; oun 42+ months or no incidents
12+ months or fie ant: 7-12 months
3-6 months
<3
12+ months or no incidents
7-12 months
3-6 months
<3

NMERPIOInf elm opi je|/o

Qe fapom [ilo

-4

Total Score (Sum of Columns] General: -4 Violent: 0

Generai/Violent Risk Levels General: Minimum Violent: Minimum

 

OVERALL MALE PATTERN RISK LEVEL

 
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Summary Reentry Plan - Progress Report SEQUENCE: 00197863

Dept. of Tustice / Federal Bureau of Prisons Report Date: 08-20-2020
Plan is for inmate: AGUILAR, ANTHONY STEVEN 33985-177

 

Facility: BUH BUTNER FMC Custody Level: IN
Name: AGUILAR, ANTHONY Security Level: LOW
Register No.. 33985-177 Proj. Re! Date: 07-18-2031
Quarters: C03-317L Release Method: GCT REL
Age: 46 DNA Status: BMM02838 / 02-12-2010

Date of Birth: 12-25-1973

 

 

 

Contact Information.
Release contact & address
KATHY MILLER, MOTHER
210 Shoreline Rd., East Tawakoni, TX 75472 US
Phone (home) : 214-592-3138

 

 

Offerises. and. Sentences. Imposed “NAICS HE Gh Aine ee ee
[Charge Terms In Effect

21:846 & 841(A)(1) & (B)(1)(A); CONSPIRACY TO POSSESS WITH INTENT TO DISTRIBUTE 360 MONTHS
AND TO DISTRIBUTE MORE THAN 50 GRAMS OF PURE METHAMPHETAMINE.

Date Sentence Computation Began: 06-30-2006

Sentencing District: TEXAS, NORTHERN DISTRICT
Days FSGT /WSGT / DGCT Days GCT or EGT / SGT Time Served + Jail Credit - InOp Time
Of of 0 756 Years: 14 Months: ? Days: +188 JC -0  InOp

 

 

 

 

 
 

Detainers TEED oe
[Detaining Agency Remarks

 

 

NO DETAINER

 

 

inmate Aguilar arrived at FMC Butner on September 4, 2019, as a transfer from another facility. He required medical treatment not available at his
previous facility. Although he has been unable to work, and has not participated in available programs at this facility, he is also noted to have
maintained clear conduct. He is respectful fowards staff and is not considered a management concern.

 

 

 

 

 

“Assignment Description Start
UNASSIGNED NO WORK 4 ASSIGNMENT 12-21-2019
Work ‘Assignment Summary” ete tig sg nntestes sprees

 

   

 

inmate Aguilar has not maintained employment since his a arrival at FMC Butner due to his medical concerns. He is noted to have help previous
employment as an orderly and in UNICOR (Federal Prison Industries), along with General Maintenance and Food Service. He consistently received
above average work evaluations,

 

 

 

Current Baucation infomation!

 

 

 

 

 

 

[Fact Assignment Description Start |
BUH ESL HAS ENGLISH PROFICIENT 09-08-2006

BUH GED HAS COMPLETED GED OR HS DIPLOMA 69-13-2006

Education Courses. ee
|SubFact Action Description Start Stop

TEX c LIFE IN THE UNIVERSE 09-29-2018 44-27-2018
TEX c BASIC MOTOR LEARNING 10-02-2018 14-16-2018
TEX c COMPUTER APP 5:30P-8:30P M-FHU 02-27-2017 02-16-2018
TEX c HEALTH FAIR-VARIOUS TOPICS 07-12-2017 07-12-2017
TEX c ULTRA KEY TYPING 8:30A-9:304 09-26-2016 14-07-2016
TEX c BEGINNER'S FRENCH 08-01-2016 10-04-2016
TEX c SPANISH VOCABULARY 03-14-2016 05-18-2016

 

Archived as of 08-20-2020 ‘Summary Reentry Plan - Progress Report Page 1 of 4

 
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Summary Reentry Plan - Progress Report SEQUENCE: 00197863
Dept. of Justice / Federal Bureau of Prisons Report Date: 08-20-2020
SEE Plan is for inmate: AGUILAR, ANTHONY STEVEN 33985-177
[SubFacl Action Description Start Stop
TEX c PARENTING, 2:35-3:25 MON-FRI SS 09-14-2015 10-27-2015
TEX c ELECTRONIC LAW LIB 230-330 FRI 12-24-2014 12-23-2014
BMM c CDE ACE CLASS,RPP CT2 06-11-2014 08-05-2014
BMM c JOB INTERVIEWING,RPP CT2 01-21-2014 03-27-2014
BMM c RESUME WRITING CLASS,RPP CT2 04-21-2014 03-27-2014
BMM c MICROCOMPUTER VT PM, RPP CT4 09-11-2012 01-17-2013
BMM c ACE REAL ESTATE CLASS 03-14-2008 04-23-2008
BMM c 40 HOUR DRUG EDUCATION COURSE 12-20-2006 03-06-2007
BMM c

HIWAIDS/STDS AND DRUG USE 02-08-2007 62-08-2007

Education information Summary.

    

    

 

 

 

inmate Aguitar has not participated in any avaifable programs since his arrival at FMC Butner. He is noted to have participated in numerous programs
throughout this ferm of incarceration.

 

 

 

 
   

DisciplineReports”
[Hearing Date Prohibited Acts
09-26-2006 307 : REFUSING TO OBEY AN ORDER

321 | INTERFERING WITH TAKING COUNT

 

 

 

          

Discipline Summary. o
inmate Aguilar has received one minor incident report during this term of incarceration. He is also noted to have maintained clear conduct for
approximately 14 years. He has adjusted well to this tarm of incarceration.

 

 

 

 

 

 

 

ARS Assignments ° Wipe gee ES

|Faci Assignment Reason Start Stop

BUH MS A-DES OTHER AUTH ABSENCE RETURN 12-21-2019 CURRENT
BUH MS A-DES TRANSFER RECEIVED 09-04-2019 12-20-2019
TEX A-DES OTHER AUTH ABSENCE RETURN 02-20-2019 09-04-2019
TEX A-DES OTHER AUTH ABSENCE RETURN 09-27-2048 02-19-2019
TEX A-DES OTHER AUTH ABSENCE RETURN 06-14-2018 09-27-2018
TEX A-DES OTHER AUTH ABSENCE RETURN 03-09-2018 06-14-2018
TEX A-DES OTHER AUTH ABSENCE RETURN 02-19-2018 03-09-2018
TEX A-DES OTHER AUTH ABSENCE RETURN 02-07-2018 02-19-2018
TEX A-DES OTHER AUTH ABSENCE RETURN 08-24-2017 02-06-2018
TEX A-DES OTHER AUTH ABSENCE REFURN 08-02-2017 08-24-2017
TEX A-DES OTHER AUTH ABSENCE RETURN 05-22-2017 08-01-2017
TEX A-DES OTHER AUTH ABSENCE RETURN 04-27-2017 05-22-2017
TEX A-DES OTHER AUTH ABSENCE RETURN 04-14-2016 04-27-2017
TEX A-DES TRANSFER RECEIVED 12-04-2014 04-11-2016
BMM A-DES OTHER AUTH ABSENCE RETURN 07-07-2014 14-25-2014
BMM A-DES OTHER AUTH ABSENCE RETURN 01-22-2014 07-07-2014
BMM A-DES OTHER AUTH ABSENCE RETURN 08-14-2013 01-22-2014
BMM A-DES OTHER AUTH ABSENCE RETURN 06-14-2013 08-14-2013
BMM A-DES OTHER AUTH ABSENCE RETURN 05-12-2041 06-14-2013
BMM A-DES OTHER AUTH ABSENCE RETURN 01-34-2041 05-42-2014
BMM A-DES OTHER AUTH ABSENCE RETURN 01-05-2041 01-31-2014
BMM A-DES OTHER AUTH ABSENCE RETURN 03-04-2010 01-05-2014
BMM A-DES OTHER AUTH ABSENCE RETURN 11-16-2009 03-04-2010
BMM A-DES OTHER AUTH ABSENCE RETURN 07-13-2009 11-16-2009
BMM A-DES OTHER AUTH ABSENCE RETURN 06-19-2009 07-13-2009
BMM A-DES OTHER AUTH ABSENCE RETURN 03-26-2009 06-19-2009
BMM A-DES OTHER AUTH ABSENCE RETURN 09-04-2008 03-26-2009
BMM A-DES OTHER AUTH ABSENCE RETURN 04-23-2008 09-04-2008
BMM A-DES US DISTRICT COURT COMMITMENT 08-29-2008 04-23-2008

 
 

 

[Assignment Description OO “Start

 

 

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Summary Reentry Pian - Progress Report SEQUENCE: 00197863
Dept. of Justice / Federal Bureau of Prisons Report Date: 08-20-2020

Plan is for inmate: AGUILAR, ANTHONY STEVEN 33985-177

[Assignment Description Start

CARE1-MH CARE1-MENTAL HEALTH 06-24-2010

CARE4 MRC CARE REQUIRED 07-26-2019

Current Medical Duty Status Assignments...

|Assignment Description Start

Los LENGTH OF STAY 09-12-2019

OTHER OTHER MEDICAL RESTRICTION 02-12-2020

PAPER LEGACY PAPER MEDICAL RECORD 11-08-2018

REG DUTY NO MEDICAL RESTR--REGULAR DUTY 02-20-2019

YES FIS CLEARED FOR FOOD SERVICE 12-04-2014

Cuirent PTP Assignments

 

[Assig nment Description
NO ASSIGNMENTS

 
  
  
 
 
  

Current Drug Assignments _
[Assignment Description Start
DRG E COMP DRUG EDUCATION COMPLETED 03-06-2007

Physical and Mental Health Summary © ~~ es

    

 

 

Inmate Aguilar is a Care 1 mental health inmate, with no significant mental health concerns. He is assigned as a Care 4 medical inmate, with medical
concerns requiring regular care.

 

 

 

  

 

 

 
  

     

 

 

FRP: Details -

[Most Recent Payment Plan

FRP Assignment: COMPLT = FINANC RESP-COMPLETED Start: 01-16-2007

Inmate Decision: AGREED $50.00 Frequency: MONTHLY

Payments past 6 months: $0.00 Obligation Balance: $0.00

Financial Obligations See |
[No. Type Amount Balance Payable Status ]
1 ASSMT $100.00 $0.00 IMMEDIATE COMPLETEDZ

“NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

 
 
 

Financial Responsibility Summary

Inmate Aguilar has fulfilled his financial obligation to the court.

  

Rel

Inmate Aguilar intends to reside with his mother upon his release. He will not require a relocation of supervision.

  

Geheral Comment

 

 

Inmate Aguilar maintains a good rapport with staff and inmates alike. He has participated in multiple programs throughout this term of incarceration. He
has adjusted weil, only receiving one miner infraction throughout this term.

 

 

 

 

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Summary Reentry Plan - Progress Report
Wopt. of duetics / Pedoral Buxyesau of Prisons
Pilon io for inmate: AGUILAR, ANTHONY STBVEW 33985-1747

Name: AGUILAR, ANTHONY STEVEN
RegisterNum: 33985-177
Age: 46
Date of Binh: 12-25-1973
DNA Status: 8&MM02838 / 02-12-2010

 

   
 

Inmate (AGUILA

Chairperson

  

SEQUENCE: 00197863
Report Date: 08-20-2020

ONY STEWEN, Register Num: 33985-477) |

 

Caseflanager

8 [20/2020

Date ' Date

 

Summary Reentry Plan - Progress Report

Page 4 of 4

 

 

 
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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 52 o0f96 PagelD 5126

BE-Ag494 COMMUNTTY BASED PROGRAM AGREEMENT corse
JUNE 10

 

 

 

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
. AGUILAR, ANTHONY STEVEN _ sspese: subse, 33985-1477 | nen:

 

 

Ret
auchorige sanioyers of the Department of Justice and emnl ovens of any faoitity contracting «ith the Beparcment of Jus
s release any or ali of the contents of information in my inmate central fiije co educational facilities, social agence:
ronpective employees, ete., for thea purpose of assisting in all phases of semminity programming and releage plar
gisd authorize the above persens to advige procpedhive employers thet = am cur rently t in the custody of the U.S. Ace
Gunacal surcving sentence or under the supervision of the U.S. Barole Cammisgian or ULS. Probation OF fice, This con
witdoocomain in effect ontil my release from supntvisicn or untii revoked in wiiting by me. Suvaecation of
pthociaatson may resole in my removal from a cammunity-hased tearrectional pragran.

 

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Lunderstand that, while a resident of a residencial reentry Genter or work release program 1 wil) be expernted to contribute
bo tine cost of my cesidence through paynents so the centracter and 2 egies ro make such payments. 1 umes
failure Co make paymants may result in my removal from a community-hesed program (Not applicable far MLNY

 

Dunderntend thar urinalysis ox othar Bureau of Prisons autharized teyting to denect unauthorived drug or
GO raquired ag a condition of residence in a rasidential reentry center on work solease pragram, and if

to submif LG uuch testing. I undersctund that {ngestion of poopy seed products. may resuls in positive
uhauthortsed drug une and is therefore prokspated.

  

aad that no nob-emergency madiaal cere may be provided to me at the Buresu’s expense without
» iouncerstand that, as park af my transition to release M GHxHpecied to agaume dnc
care whilje Loam a resident of a community-based carrectional prog

       
      

 

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assessment. 2 understand thay fardure. to abide by treatment program recammendaétiods may result in my

 

Lounderstend that I may be cequixed to abide by the condinione of supervisian as imposed py the senceneing cou
O.5. Parole Commission, ineluding the payments of £inea and restitution and te follokr the inabtreecions at tne
officer aa af on supervision,

 

lounde@ratand that weon acrival at the residentaal reantsy center I may be initially placed in the rostciensva Commun:
Cacrections Companent for a period of orientation. In this compenent, | will be expected ts rematu at the RHC
authorised to leave for employment or othar authorized program purposes. Addationaliy, £ underntand that secial
and reoreagtionalflaisure activities will be cenfined to the REE,

  

 

iounuedrotand that while a resident of a residential reeniry center a: work ase pragiam Lo will be reguirad ca atiac
by the miles und cegeulations promulgated by such program.

WAN? ceferrais, | understand that Ioor the guardian shail ageuse total

fouma resident of a AKC, Shovid Loor the guardian be unable oc unwil}
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eniic by phe Buceag of Prisdns, :

      

   

 

in the event that J am approved for Home Butention, T agzee to avide by che Zcollawing cond: au oredated tn my lernal
ME

tivipation in Homa betention,

 

J understand that my participation in Home betention will be. an alternative ta plucement in a RRC for ne wore
lag. sin mennhs oe. 10% of my sentenen, Whichever i3 less 2 aM aware that fo will legally remain jn the custody
Bureau of Veieons andfoxr the U.S. Attorney Generad and chat failure to remain at the requived Jovations may reguit
@inciplinary action and/er presecution for ugoape.:

    

 

ee to report to thy agsignud probation ofilear ar the gonucacter’s facility Limegdliacely upon
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understand that if 2 weet ne GO pactioipate in the recommended Home Desentian program £ may face adminzet
reigss7ament aun of the residential reentry pr CCPL eaire

 

 

ioagse¢ that during the Home Detention period, 1 will remain at my place af residence, except for amp]
am divun permission to do otherwise, J alse understand taat 1 will be zequired toe muy the coats of the proc

my ability to pay,

 

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agree to néintain a telephones at my place of residence withour “cali forwazding, “ or “three-way
i. Jo also agxyee thet. if ingtridatead te du as, a6 & vandacion of Home geLenuion, Lwili net have ace
modem or other device for accessing the interne:. I alse agree ther jf my vonfinement is to

 
 
 
   

  
 

    

ritoced, 1 wlli wear any elestronia noni tering deviee required, follow Be focedyres speaified, and comuly
telephone and campuber aragss restrictions Hyaeigies ee at ent £5 % fe Se
AGUILAR, ANTHONY STEVEN’ 5 (C ( 20

 

Date

Uemnfeuewid Std lec

Witness? ringed Hamme anf Signature Date
Record Copy ~- CCM; Copy - COM; Copy - Central File

BES Preseribed by #7310 Replicas

 

 

 

 

 
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BP-AQ4GG . CONDITIONS OF HOME DETENTION CDFAM
JUNE LG

0.5. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

 

 

 

Resident AGUILAR, ANTHONY STivEy Register Number 23945-1797

 

x understand. that: my ‘pladement, on: Home Hetention. status. is’ 2 privilege which may pe zsevoked by the
Commun’ ty. Correction nager (cum) . J undéxstand: that, any violation of Home Detention Conditions, of
ch reflects (a disreg rd Bor the rignts of others, shall be sufficient cause. te
; terminate my Residential Ree Enix y Center (RRC) program participation

     

 

    
  

 

I understand and agree to abide by the following conditions during my period of Home Detention:

 

1. {l will reside at my approved residenge at 6553 STATE PARK LOWE OAK, TA 75453 .
2. 1 will conduct myself in a Lewfal manner.
3. 1 will accept phone calls from RRC/Probation Staff, verifying my presence at my home and at my ob

Saad ©

site. IL agree to maintain @ telephone at my place of residence without “eall forwarding,” or
“three-way calling” for this period and will, when requested, provide copies of my telephene ici
to the Center/fBrobatian staff, I aluo agrea that if my confinement is to be elactronicaliy
monivored, IT will weer any eleetranie monitoring device required, follew precedgres specifiud, ai
comply with any telephone and computer access restrictions as they epply to the monitoring device
requirements.

   

4a. Iwill aceapt the visits of REC/Probation persenanel site and home.

 

5. I will return te the RRC/PFrobation at least weekly For routine progrese ruviews
and program participation, and wore oftan if instructed to do so.

 

a. Io understand I must continue mental health/psychiatric treatment, substance abuse rrestment, sex
offender treatment while on Home Detention,

R Iwill not own or possess any deadly weapon or knowingly be in the company of a persen possussing
the sane,

By I will remain steadily employed at and wiil nat
change enployment without prior approval of RRC/Probation stalt

#. i will not knowdngly associate with pecsons having a criminal record, nor freapent places where
iliegal activities are conducted.

ip. towiil not orink alcoholic beverages of any kind; nor will T enter any establishments, such as
bars or liquor stores, where the sale and/or consumption of slecholic beverages on the premises in
Che primary business of the esctublishment.

Li. fecept as medically authorizad, I will not use or possess nercolics, or other controlled
subsbunces, nor be in the presence of persons possessing the same.

1a. fo agree that during the Home Detention period, I will remain ah my place of residence, excepr rer
emplayment; unless I am given specific permission te do otherwise.

13. {will not own or drive a motor vehicle withovt proper authorixation.

14, I will abide by special instructions given to me by the RRC/#Probation, o.g., electronic mouitering
pregean parlicipation.

is. Towili submit to urinalysis or altohol testing as reques Sted by the BRC/ Probation. I understand
that ingesrion of poppy sead food products may result in positive test resulcs fer unauthorized
drug use and ds therefore prohibited.

rs. lo agree to. pay gubsistence far the cost of my participation in Home Detention.

17. i understand that I 4m persunaidy renponsible for #11 costs of my housing, meals, and general

aubsistence, while ZT am on Home Detention,

 

    
 
  
 
 
 

ert tfab required, unauthorized change of residence,
ter, staffof my whereakouts; could constitute an escape

 

 

 

 

 

 

Resident's Signature | bate os/1ge/20a¢
Approved (RRC Director}

hoprayed (CCH)

Record Copy - To CCM « Community Corrections Manager; Copy ~ To REE - Pesicensial Re-Entry Center; Copy -
To UGPO - U.S. Probation Officer

POF Prescribed by P7320 Replaces BP-460(73) af DEC 93

 

 

 

 

 
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page54of96 PagelD 5128 519
Cu?

      
  

BP-AG522 SUPERVISION RELEASE PLAN corr
JUNE 10
U.S. DEPARTMENT OF JUSTICE ememsmeeesinenmenmanmm EDERAL BUREAU OF PRISONS

 

institution Name; BUPTNER PHC Date
Address: P.O. BOX i600

05/19/2020
BUTHER, NG 27505

 

 

Phone Number; (919}575-3900

 

iv] Supervised Release
+ x . é .
under che law 1 become eligible far: T] Parole on 07/18/2031
(Date)

a Mandatory Release
i submit the following as my plans for the service of the cemaindar of my sentence under supervéi
Pursuent to my sentence, 1 must report in person to the United States Probation Office within YZ hours
oloumy release,

 

Residence

ADDRESS 6553 STATE PARK, LONE GAN, TX 75483, US

WITK WHOM MOTHER, KATHY. NILLER
RELATIONSHIP

VELE PHONE home 224-592-3338
i t

COMPANY AND
SUPERVISOR'S NAME

ADDRESS
TELEPHOWE

NATURE OF BUSTHESS

 

 

TO BE COMPLETED BY INSTITUTION STAFF

 

SENTENCING DISTRICT }'TEXAS, NORTHERN DISTRICT

 

RELOCATION DISTRICT

 

DETATHERS WA

 

SPECIAL CONDITIONS

 

REMARKS He iy be ing vefeyved fer early releasa undur rhe provigione of phe
CARES ACT.

 

 

 

Printed Rame and Signa
AGUILAR, ANTHONY STEVEN

Witness (Cf Ba rin Nand a id Bi Date
M. Haxwin “Vy LA WO 05/19/2020
Review (Und x) xr tn Rame Date
it. Barwin, “aay HUWIUO 05/19/2029

This form is te be AHO by all individuats Subject to sopervision by the U.8. Probation Office or
Court Servite and Offender Supervision Agency for the District of Celumbia, ‘this includes Supervised
Release, Parole, Mandatory Release, Mandatory Release to Special Parole, Special Parele and Ceurt
Designated Parole,

 
  

 

 

 

 

 

 

Record Copy - Institution; Copy - U.S. Probation. Office: Copy ~ Inmate

FILE IN SECTION 5 UNLESS APPROPRIATE FOR PRIVACY FOLDER SECTION 5

POF Preseribed by P5321 This form replaces BP-522 OTD SEP 9g

 

 
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 55o0f96 PagelD 5129

GBP-AGS4B HOME CONFINEMENT AND COMMUNITY CONTROL
JN 10 AGREEMENT U.S. DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF PRISONS

 

 

| AGUILAR, ANTHONY STEVEN 33985-1977

Name Register Number
hereby agree to abide by the following Conditions related to my legal participa tion on home confinement,

funderstand that my participation on horne confinement will be an alternative t o placement In a Community Corrections
Center for 19 more than the last six (6) months or 10% of my sentence, whicheve ris less, | am aware that | will legally
remain in the custody of the Bureau of Prisons and/or-the U.S. Attorney General and that failure to remain at the required
locations may result In disciplinary action and/or prosecution far escape,

| agree to report to my assigned probation officer or the contractor's facility immediately upon reaching my release
destination,

{ understand that if f decline to participate in the recommended home confineme at program | may face administrative
reassignment out of the community corrections program.

| agree that during the home confinement period, | will remain at my place of r esidense, except for employment, uniess |
am given permission to do otherwise, | also understand that | will be required {o pay the costs of the program based on my
ability to pay.

| aiso agree fo maintain a telephone at my place of residence without “call for warding", a modem, "Caller ID" or portable
cordless telephanes for this period.

| also agree that, if my confinement is to be elactronically monitored,| will wear any electronic monitoring device required,
following procedures specified and will not have "call forwarding” on my teleph one.

 

inmate's Name /\ Date
AGUILAR, ANTHONY stevens 05/19/2020

Staff Witness VIN NNT ign ture) oS 1 Facility
| ’ AOCZIN Par Ab Cut BUTNER FHC

 

 

 

 

 

 

 

PDF Prescribed by P7320

 

 
 

Hescies OFF SPIAO1I5-A Document 773 Filed 01/05/21 Page 56 of96 PagelD 5130

[\hachments 10

COVID-19 Hospitalization and Death by Age
Hospitalization and Death by Age

Updated Aug. 18, 2020 Print,

 

Rate ratios compared to 18-29 year olds

 

. Hospitalization’ “Death?
Coronavirus Disease 2019 (COVID-19)
5-17 years 9x lower 16x lower
18-29 years Comparison Group Comparison Group
30-39 years 2x higher 4x higher
40-49 years a sich 7 2"10x higher
50-64 years 4x higher 30x higher
65-74 years 5x higher 90x higher
75-84 years | &x higher 220x higher
85+ years 13x higher 630x higher

Factors that increase community spread and individual risk

‘Crowded Situations

 

  

Close/physicai contact... “Enclosed space Duratian of exposure

Actions to reduce risk of COVID—19

 

  

 

12

 

 
d

Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 57 of96 PagelD 5131

BUHBA * INMATE DISCIPLINE DATA * 09-23-2020
PAGE 001 OF O01 * CHRONOLOGICAL DISCIPLINARY RECORD * 17:00:50
REGISTER NO: 33985-177 NAME..: AGUILAR, ANTHONY STEVEN
FUNCTION...: PRT FORMAT: CHRONO LIMIT To MOS PRIOR TO 09-23-2020

REPORT NUMBER/STATUS.: 1516490 ~ SANCTIONED INCIDENT DATE/TIME: 09-23-2006 1000
UDC HEARING DATE/TIME: 09-26-2006 1650
FACL/UDC/CHAIRPERSON.: BMM/N/GIBSON ;
REPORT REMARKS.......: INMATE STATES THE OFFICER DID NOT GIVE HIM A CHANCE TO
GET TO CELL.
307 REFUSING TO OBEY AN ORDER - FREQ: 1
LP PHONE / 15 DAYS / cS
COMP : LAW: START 09-27-2006
END 10-11-2006
321 INTERFERING WITH TAKING COUNT - FREQ: 1
LP PHONE / 15 DAYS / cS
COMP: LAW : START 10-12-2006
END 10-26-2006

GOO0s TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED

 

 
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 58 o0f96 PagelD 5132

EXHIBIT 1:
“Medical Documents”
Case 4:05-cr-00195-A DocumBureau ofehsOhSl Page 590f96 PagelD 5133
Health Services
Clinical Encounter

 

Inmate Name: AGUILAR, ANTHONY STEVEN Reg#: 33985-177
Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH

Encounter Date: 08/31/2020 11:23 Provider: Duchesne, C. MD Unit: Co3

 

Chronic Care - Chronic Care Clinic encounter performed at Health Services.
SUBJECTIVE:

. COMPLAINT 1 Provider: Duchesne, C. MD
Chief Complaint: Pain
Subjective: 46 y/o HM with hx of HTN, OA, and Chronic Constipation who came today for CCC.
|

Patient came complaining of pain:in his joints including knees, shoulders, elbows, etc. He
believes the pain is due to OA as he was told before and confirmed by X-rays in the past. He
is requesting to go back to the Meloxicam as OTC Ibuprofen "makes my urine burn". He thinks
this pain is directly related to years of Meth and other designer drugs abuse. - ;
Right shoulder surgery was performed and he was able to complete PT rehab successtully.
Patient states been compliant with the Lisinopril and his BP is been WNL every time HE takes
it (?7). The constipation remains a major problem for him. He requires medications to move his
bowels and even drinking "tons" of water is not helping, so he wants to continue current meds.

Denies chest pain, shortness of breath, cough, fever, chills, NAV, diarrheas, headaches,
palpitations, dizziness, weakness, fatigue, blurred vision, or slurred speech.

Pain: Yes
Pain Assessment
Date: 08/31/2020 11:52
Location: Multiple Locations

Quality of Pain: Aching
Pain Scale: 6
intervention: meds

Trauma Date/Year:

 

Injury:
Mechanism:
Onset: 5+ Years
Duration: 5+ Years
Exacerbating Factors: immobility
Relieving Factors: NSAIDs
Reason Not Done:
Comments: Probably Meth induce arthritis
Seen for clinic(s): Gastrointestinal, Hypertension, Orthopedic/Rheumatology
ROS: 2
Genera!
Constitutional Symptoms
No: Anorexia, Chills, Easily Tired, Fatigue, Fever, Weakness, Weight Gain
Cardiovascular

General
Yes: Hx Hypertension

No: Angina, Cold Extremities, Cough, Cyanosis, Edema, Exertional dyspnea, Palpitation, Syncope, Hx
Murmur, Hx of Hyperlipidemia
Generated 09/01/2020 10:20 by Duchesne, C. MD Bureau of Prisons - BUH Page 1 of 4
 

inmate Name: sy OSHIP RATS RENTON 773 Filed 01/05/21 Page 6Réeg #6 Weagpib75134

 

Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date: 08/31/2020 11:23 Provider. Duchesne, C. MD Unit: C03
ROS:
Gl !
General

Yes: Constipation

No: Abdominal Pain or Colic, Appetite Changes, Blood in Stools, Dyspepsia, Dysphagia, Hx of Hepatitis,
Jaundice, Reflux, Weight Gain .

OBJECTIVE:

 

 

 

 

 

Temperature:

Date Time Fahrenheit Gelsius Location Provider

08/31/2020 09:55 BUX 97.1 36.2 Rosario, C. LPN
Pulse:

Date Time Rate Per Minute Location | Rhythm Provider

08/31/2020 09:55 BUX . 67 Rosario, C. LPN
Respirations:

Date Time Rate Per Minute Provider

08/31/2020 09:55 BUX 18 Rosario, C. LPN
Blood Pressure: |

Date Time Value Location | Position Cuff Size Provider

08/31/2020 09:55 BUX 130/79 : Rosario, C. LPN
SaQ2: :

Date Time Value(%) Air Provider

08/31/2020 09:55 BUX 100 Rosario, ©. LPN
Weight: ,

Date Time Lbs Kg Waist Circum. Provider

08/31/2020 14:27 BUX 200.0 90.7 | Duchesne, C. MD
Exam:

General

Affect

Yes: Pleasant, Cooperative
Appearance

Yes: Appears Well, Alert and Oriented x 3

No: Appears Distressed, Jaundiced, Dyspheic, Appears in Pain, Cyanotic, Diaphoretic, Acutely Iii
Nutrition

Yes: BMI reviewed (enter in comments), Excellent food intake

No: Appears Malnourished, Appears Obese

Exam Comments

BMI: 27.1
Alert, Afebrile, Active, Ambulating without Assistance.
Oriented x 3, does not look in pain (no grimace, etc.). No ill Appearance.
Patient seems comfortable during interview and exam.
Well nourished, no jaundiced, no obvious deformities.
HEENT- PERLA, no scleral petechiae, no nasal discharge, no oral thrush.
No JVD, neck supple with normal range of motion, ho carotid bruits.
Heart- RRR, no murmurs, no gallops, no $3, no S4;
Generated 09/01/2020 10:20 by Duchesne, C. MD Bureau of Prisons - BUH Page 2 of 4
 

inmate Name<O&GUIDAR, ANTHONY See 773 Filed 01/05/21 Page 6keg #6 Regel?6135

Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date: 08/31/2020 11:23 Provider; Duchesne, C. MD Unit CO3

 

Lungs- Clear to Auscultation, no wheezes, no crackles.

Abdomen- Not distended, BS+, S/D, non-tender, no rebound, no guarding.
Ext- Symmetric, no edema, no cyanosis.

Neuro- CN grossly intact, no apparent motor or sensory deficits.

ASSESSMENT:

Constipation, unspecified, 564.00 - Current - Responding well fo cathartics. Likely secondary fo chronic pain meds, Meth and desic
drugs abuse. ;

Shoulder (pain in joint, shoulder region), 719.41 - Current - To be followed by Ortho Team.

Disorder of urinary system, unspecified, N399 - Resolved

Essential (primary) hypertension, 110 - Current - Borderline control but asymptomatic. Responding to Lisinopril but compliance is si
an issue. Educated about importance of control and compliance.

Other specified postprocedural states, 29889 - Current = S/o Right reverse TSA 12/20/19.
Viral wart, BO79 - Resolved - Right index finger.

PLAN:
Renew Medication Orders: P
Rx# Medication | Order Date
1630144- Bisacodyl E.C. 5 MG TAB 08/31/2020 11:23
BUX
Prescriber Order: | Take one tablet (5 MG) by mouth at bedtime AS NEEDED for constipation
PRN x 90 day(s)
Indication: Constipation, unspecified
1630145- Docusate Sodium 100 MG Cap 08/31/2020 11:23
BUX .
Prescriber Order: | Take one capsule (100 MG) by mouth two times a day for constipation x 30
day(s)
Indication: Constipation, unspecified
1630146- ‘Lisinopril 20. MG Tab 08/31/2020 17:23
BUX
Prescriber Order: Take one tablet (20 MG) by mouth daily to control blood :pressure.x 365
day(s) nes
Indication: Essential (primary) hypertension
1630147- Senna 8.6 MG Tab | 08/31/2020 11:23
BUX
Prescriber Order; Take two tablets (17.2 MG) by mouth each day x 90 day(s)
Indication: Constipation, unspecified, Other specified postprocedural states
1605153- Meloxicam 7.5 MG Tab 08/31/2020 11:23
BUX '

Prescriber Order. Take one tablet (7.5 MG) by mouth each day with food for chronic
unrelenting pain x 60 day(s)
indication: Other specified postprocedural states
New Laboratory Requests:
Details Frequency Due Date Priority

Lab Tests - Short List-General-CBC wadiff One Time 04/13/2021 00:00 Routine

Lab Tests - Short List-General-Lipid Profile
Lab Tests - Short List-General-Comprehensive
Metabolic Profile (CMP)

Generated 09/01/2020 10:20 by Duchesne, C. MD Bureau of Prisons - BUH Page 3 of 4
 

Inmate Name? AGUILAR ANTHONY STEVEN MENT C13 Filed 01/05/21 Page 6Reaf®6 3e88feI/5136

 

Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date; 08/31/2020 11:23 Provider: Duchesne, C. MD Unit: C03
Disposition:

- Follow-up at Sick Call as Needed
Follow-up at Chronic Care Clinic as Needed

Other:
# Recommend to control excess water intake and to change to a balanced diet.

Patient Education Topics:
Date Initiated Format Handout/Topic Provider Quicome

09/01/2020 Counseling Compliance - Treatment Duchesne, C. Verbalizes

‘ Understanding
09/01/2020 Counseling Exercise Duchesne, C. Verbalizes

: Understanding
09/01/2020 Counseling Hand & Respiratory Hygiene Duchesne, ©. . Verbalizes

Understanding

,
Copay Required: No Cosign Required: No
Telephone/Verbai Order: No
Completed by Duchesne, C. MD on 09/01/2020 10:20 |

Generated 09/01/2020 10:20 by Duchesne, C. MD Bureau of Prisons - BUH Page 4 of 4
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 63 0f96 PagelD 5137
Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: AGUILAR, ANTHONY STEVEN Reg#: 33985-177
Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date: 12/23/2019 13:35 Provider: Everett, Chauna PA-C Unit: BOS

 

Consultation - Initial visit encounter performed at Health Services.
SUBJECTIVE:

COMPLAINT 1 Provider: Everett, Chauna PA-C

Chief Complaint: ORTHOPEDIC/RHEUMATOLOGY
Subjective: Ortho Status: Post Op
Right Reverse Total Shoulder Repiacement
DOS: 12/30/2019
Dr, Wheeless

45 yo male with above procedure seen this am during rounds. Patient reports pain medication
is not holding for the four hours until next dose. Denies nausea, vomiting, SOB or CP, Did
note smal! bowel movement with history of constipation and requested a suppository in
adjunct to medications.

 

 

 

 

Pain: Yes
Pain Assessment
Date: 12/23/2019 10:24
Location: Shoulder-Right
Quality of Pain: Aching
Pain Scale: 9
Intervention: oxyCODONE HC! 5 MG Tab UD
Trauma Date/Year:
Injury:
Mechanism:
Onset: <30 Minutes
Duration: <30 Minutes
Exacerbating Factors: post surgery
Relieving Factors: pain med
Reason Not Done:
Comments:
OBJECTIVE:
Temperature:
Date Time Fahrenheit Celsius Location Provider
42/23/2019 08:40 BUX 97.6 36.4 Ward, Emad MD
12/21/2019 = =917:15 BUX 97.7 36.5 Ugochukwu, U. RN
42/21/2019 16:19 BUX 98.5 36.9 Johnson, Erica RN
12/12/2019 10:45 BUX 98.4 36.9 Simons, C. RN
Pulse:
_ Date Time Rate Per Minute Location Rhythm Provider
12/23/2019 08:40 BUX 71 Ward, Emad MD

Generated 12/23/2019 15:11 by Everett, Chauna PA-C Bureau of Prisons - BUH Page 1 of 4
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 640f96 PagelD 5138

 

 

 

 

Inmate Name: AGUILAR, ANTHONY STEVEN Reg#: 33985-177
Date of Birth: 12/25/1973 Sex: M Race. WHITE Facility, BUH
Encounter Date: 12/23/2019 13:35 Provider: Everett, Chauna PA-C Unit: BOS
Date ' Time Rate Per Minute Location Rhythm Provider
42/21/2019 17:15 BUX 88 Ugochukwu, U. RN
42/21/2019 16:19 BUX 100 Johnson, Erica RN
12/12/2019 10:45 BUX 73 Simons, C. RN
Respitrations:
Date Time Rate Per Minute Provider
{2/23/2019 08:40 BUX 20 Ward, Emad MD
42/21/2019 17:15 BUX 16 Ugochukwu, U, RN
42/21/2019 46:19 BUX 20 Johnson, Erica RN
42/12/2019 10:45 BUX 18 Simons, C. RN
Blood Pressure:
Date time Value Location Position Cuff Size Provider
42/23/2019 08:40 BUX 131/81 Ward, Emad MD
42/21/2019 17:15 BUX 121/71 Ugochukwu, U, RN
42/27/2019 16:19 BUX 123/81 Johnson, Erica RN
42/42/2019 10:45 BUX 117/75 Simons, C. RN
$a02:
Date Time Value(%) Air Provider
42/23/2019 08:40 BUX 98 Ward, Emad MD
12/21/2019 17:15 BUX 95 Ugochukwu, U. RN
42/21/2019 16:19 BUX 98 Johnson, Erica RN
42/12/2019 10:45 BUX 100 Simons, C. RN
Weight:
Date Time Lbs Kg Waist Circum, Provider
42/12/2019 10:45 BUX 213.0 96.6 Simons, CG. RN

Exam Comments

Right Shoulder
PICO dressing in place with strike through bleeding noted on NWPT sponge
Full range of motion at elbow / wrist
Grip 5/5
Distal pulses intact
ASSESSMENT:

Other specified postprocedural states, 29889 - Current

PLAN:
New Medication Orders:
Rx# Medication Order Date Prescriber Order

Docusate Sodium Capsule . 12/23/2019 13:35 100mg Orally - Two Times a Day x
30 day(s) Pill Line Only

indication: Constipation, unspecified, Other specified postprocedural states

Generated 12/23/2019 15:44 by Everett, Chauna PA-C Bureau of Prisons - BEFH Page 2 of 4

 
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Inmate Name: AGUILAR, ANTHONY STEVEN Reg#: 33985-177
Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date: 12/23/2019 13:35 Provider: Everett, Chauna PA-C Unit: BOS

 

New Medication Orders:
Rx Medication
Senna Tablet

Order Date
42/23/2019 13:35

Prescriber Order
17.2 mg Orally - daily x 30 day(s) --
for opiate induced constipation

Indication: Constipation, unspecified, Other specified postprocedural states

Bisacadyl Suppository 12/23/2019 13:35

indication: Constipation, unspecified

oxyCODONE HCI Tablet 12/23/2019 13:35

Indication: Other specified postprocedural states

Order Set Name: BUX Ortho Post-Op Orders - v2
oxyCODONE HCI Tablet 42/23/2019 13:35

Indication: Other specified postprocedurai states
Order Set Name: BUX Ortho Post-Op Orders - v2
oxyCODONE HCI Tablet 12/23/2019 13:35

Indication: Other specified postprocedural states

Order Set Name: BUX Ortho Post-Op Orders - v2
Discontinued Medication Orders:

Rx#t Medication Order Date
1574882- oxyCODONE HC! 5 MG Tab UD 12/23/2019 13:38
Bux
Discontinue Type: When Pharmacy Processes
Discontinue Reason: Order changed
Indication:
4574774- Bisacodyl £.C. 65 MG TAB 12/23/2019 13:35
BUX

Discontinue Type: When Pharmacy Processes
Discontinue Reason: Order changed
Indication:

New Radiology Request Orders:

10 mg Rectally - daily PRN x 14
day(s) -- patient to insert rectally for
constipation as needed

5mqg Orally every 4 hours PRN x 3
day(s) Pill Line Only -- for chronic
unremitting pain level of 1-4

10mg Orally every 4 hours PRN x 3

day(s) Pill Line Only -- for chronic
unremitting pain level of 5-8

15mg Orally every 4 hours PRN x 3
day(s) Pill Line Only -- for chronic
unremitting pain level of 9-10

Prescriber Order

Take two tablets (10 MG} by mouth
every four hours AS NEEDED for
chronic unrelenting pain *Date of last
pain assessment: 12/23/2019
**orush/empty***

Take ane tablet (5 MG) by mouth at
bedtime

Details Frequency End Date Due Date Priority
General Radiclogy-Shoulder-General One Time 12/27/2019 Routine
[Right]
Specific reason(s) for request (Complaints and findings):
s/p right reverse total shoulder surgery 12/20/2019
Baseline films for alignment
Schedule:
Activity Date Scheduled Scheduled Provider

Generated 12/23/2019 15:14 by Everett, Chauna PA-C Bureau of Prisons - BUH

Page 3 of 4

 
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Inmate Name: AGUILAR, ANTHONY STEVEN

Reg#: 933985-177

 

Date of Birth; 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date: 12/23/2019 13:35 Provider: Everett, Chauna PA-C Unit: BOS
Activity Date Scheduled Scheduled Provider
Procedure 42/26/2019 G0:00 Ortho 04
Right Reverse Total Shoulder Replacement
DOS: 12/20/2019
Dr. Wheeless
Remove PICO pressure dressing
Apply Occlusive dressing
Discharge to the 3rd floor
Ortho 04

Procedure 01/09/2020 00:00
’ Right Reverse Total Shoulder Replacement
DOS: 42/20/2019
Dr. Wheeless

Remove sutures
Other:

New admit and will be followed up in 2 days for PICO dressing exchange

Patient Education Topics:

Rate initiated Format Handout/Topic
12/23/2019 Counseling Post-onerative Care

Order Sets Used in This Encounter:
BUX Ortho Post-Op Orders - v2

Copay Required:No Cosign Required: Yes
Telephone/Verbal Order: No

Completed by Everett, Chauna PA-C on 12/23/2019 15:11
Requested to be cosigned by Stock, Andrew M.D..

Cosign documentation will be displayed on the following page.

Generated 12/23/2019 15:11 by Everett, Gnauna PA-C Bureau of Prisons - BUH

Provider
Everett, Chauna

Outcome

Verbalizes
Understanding

Page 4 of 4

 
v

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: , RADIOLOGIC REPORT
U;S, DEPARTMENT OF JUSTICE i tC

FEDERAL BUREAU OF PRISONS ©

 

Patient Identification:
Name, Reg #, Date of Birth, Institution © .
Facility; Butner FMC

 

AGUILAR, ANTHONY STEVEN General Radiology ~ Right Shoulder.
Reg, #: 33985-4177 Requested By:
DOB: 12/25/1973 : Chauna Everett, PA-C

Exam(s) Requested:
J

 

 

Reasons for Study/Provislonal Diagnosis as per Referring Cliniclan [per request form].

Post-op reverse total shoulder arthroplasty on 12/20/2019.

 

 

Date of Study: Date of Dictation: - Dictation Received: Dictation Transcribed:
04/13/2026 01/13/2020 01/13/2020 o1/ 13/2020

 

 

 

 

 

. Sensitive but Unclassified

FINDINGS/IMPRESSION:

i, Humeral and scapular components of a right shoulder prosthesis are in satisfactory position and
alignment, No radiographic evidence of hardware failure or loosening.

2.’ No acute osseous abnormality identified.

t

 

 

Signature:

EST _LESTER, JR., MD

Location of Radiologic Facility:
Butner

 

 

 

Job No: 186286 MT: 0951 .

i ‘Page 1 of L
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 68 of 96. PagelD 5142

 

 

Inmate Name: AGUILAR, ANTHONY STEVEN Reg#: 33985-1177
Date of Birth: 12/25/1973 Sex: MoORRace: = WHITE Facility: BUH
Encounter Date; 12/21/2019 16:20 Provider: Sandhu, Gurinder MD Unit: Co3
Exam:

Yes: Normo-Active Bowel Sounds
Palpation
Yes: Within Normal Limits

Exam Comments
rt shoulder in sling

ASSESSMENT:

Shoulder (pain in joint, shoulder region), 719.41 - Current
Essential (primary) hypertension, 110 - Current
Hypertensive:heart:disease Without heart failure, 1119 - Resolved

 

PLAN:

Medication Reconciliation.
The patient's known medication list including OTC items was compiled and compared to new and changed BOP
orders.

New Medication Orders:

Rx#t Medication Order Date Prescriber Order
oxyCODONE/Acetaminophen SMG/325 MG 12/21/2019 16:20 4 tab Orally every & hours PRN x 3
Tablets day(s) Pili Line Only
Indication: Shoulder (pain in joint, shoulder region)
Vitamin D ( Cholecalciferal ) Tab/Cap 42/21/2019 16:20 10000 units Orally - daily x 30
day(s)

Indication: Shoulder (pain in joint, shoulder region)
Calcium CitrateVIT D 12/21/2019 16:20 1 gram Orally - three times a day x
30 day(s) -- with each meal
Indication: Shoulder (pain in joint, shoulder region)
Enoxaparin injection 12/21/2019 16:20 40mg Subcutaneously - daily x 14
day(s) Pili Line Only
Indication: Shoulder (pain in joint, shoulder region)
Renew Medication Orders:

Rx# Medication Order Date Prescriber Order
1546430- Bisacodyl E.C. 5 MG TAB 42/21/2019 16:20 Take one tablet (5 MG) by mouth at
BUX bedtime x 7 day(s)

Indication: Constipation, unspecified
1546431- Lisinopril 20 MG Tab 42/21/2019 16:20 Take one tablet (20 MG} by mouth
BUX each day x 30 day(s)

Indication: Hypertensive hea rt disease withd xt Heart failure

Reconciled Medications:

 

Source Action Type Rx# Medication Order Detail

BOP Continue Rx 1546430-BUX Bisacody! E.C. 5 MG TAB Take one tablet (6 MG) by
mouth at bedtime

BOP Continue RX 1546431-BUX Lisinopril 20 MG Tab Take one tablet (20 MG) by

mouth each day
OTG No known OTCs

Disposition:

Generated 12/21/2019 16:34 by Sandhu, Gurinder MD Bureau of Prisons - BUH , Page 3 of 4

 
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 69 of 96 PagelD 5143
Reg#: 33985-177

Inmate Name: AGUILAR, ANTHONY STEVEN

 

Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date: 12/23/2019 13:35 Provider: Everett, Chauna PA-C Unit: B05
Activity Date Scheduled Scheduled Provider

Procedure 12/26/2019 00:00 Ortho 04

Right Reverse Total Shoulder Replacement
DOS: 12/20/2019
Dr. Wheeless

Remove PICO pressure dressing
Apply Occlusive dressing
Discharge to the 3rd floor

Procedure 01/08/2020 00:00 Orthe 04

Right Reverse Total Shoulder Replacement
DOS: 12/20/2019
Dr. Wheeless

Remove sutures
Other:

New admit and will be followed up in 2 days for PICO dressing exchange

Patient Education Topics:

 

Date Initiated Format Handout/Topic
42/23/2019 Counseling Post-operative Care

Order Sets Used in This Encounter:
BUX Ortho Post-Op Orders - v2

Copay Required: No Cosign Required: Yes
Telephone/Verbal Order: No

Completed by Everett, Chauna PA-C on 12/23/2019 15:11
Requested to be cosigned by Stock, Andrew M.D..

Cosign documentation will be displayed on the following page.

Generated 12/23/2079 15:11 by Everett, Ghauna PA-G Bureau of Prisons - BUH

Provider
Everett, Chauna

Qutcome

Verbalizes
Understanding

Page 4 of 4
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 70 of 96. PagelD 5144

 

inmate Name: AGUILAR, ANTHONY STEVEN Reg #: 33985-177
Date of Birth: 12/25/1973 Sex: M Race: WHITE Facility: BUH
Encounter Date: 12/21/2019 16:20 Provider: Sandhu, Gurinder MD Unit: co3

 

Admit to Inpatient Unit

Other:

admitted to 5B
Med reconciliation done
History and physical done

Patient Education Topics:

Date !nitiated Format Handout/Topic Provider Qutcome
42/21/2019 Counseling Access to Care Sandhu, Gurinder Verbalizes
Understanding
Copay Required: No Cosign Required: No

Telephone/Verbal Order: No
Completed by Sandhu, Gurinder MD on 12/21/2019 16:34

Generated 12/21/2019 16:34 by Sandhu, Gurinder MD Bureau of Prisons - BUH Page 4 of 4
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 710f96 PagelD 5145

FEDERAL CORRECTIONAL COMPLEX, BEAUMONT, TEXAS
PART B - RESPONSE TO REQUEST FOR ADMINISTRATIVE REMEDY #485116-Fi

This is in response to your Request for Administrative Remedy
received on March 6, 2008, in which you request an MRI, to be
immediately evaluated by a specialist and to receive surgery if
recommended.

- Medical care at FCC Beaumont is provided by the University of
Texas Medical Branch (UTMB), as part of a comprehensive managed
care contract. A review of your medical record reveals that you
were seen by the provider on November 27, 2007, and an order for
an orthopedic evaluation and possible MRI was written; however,
the provider did not submit the referral. You presented to the
clinic on March 4, 2008, inquiring about your orthopedic
referral. The provider reviewed the note and requested an
expedited orthopedic referral. On March 7, 2008, the request for
an orthopedic evaluation was approved. The appointment was
March 13, 2008. During this appointment, the specialist renewed
your ibuprofen 800 mg, informed you to continue using the brace
and requested an MRI of the left knee to evaluate an
acromiocilavicular tear. Once the MRI is completed, you will be
seen by the specialist who will determine the plan of action.

Based on the above information, your referral was not initially
placed in a timely manner. Therefore, your Request for
Administrative Remedy has been granted.

If you are not satisfied with this response, you may appeal to
the Regional Director at Bureau of Prisons, South Central Region,
4211 Cedar Springs Road, Suite 300, Dallas, Texas 75219. Your
appeal must be received in the South Central Regional Office
within 20 calendar days of the date of this response.

— Ik MK | 3-18-08
Jody“. Uptok —) Date ———™

Warden
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 72 0f96 PagelD 5146

EXHIBIT 2:
“Administrative Remedies”
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 73 0f 96 PagelD 5147

 

 

 

 
 

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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 740f96 PagelD 5148

U.S. Department of Justice
Federal Bureau of Prisons
Federal Correctional Complex
Federal Medical Center

P.O. Box 1600

Butner, North Carolina 27509

 

 

June 23, 2020
AGUILAR, ANTHONY
Reg. No.: 33985-177
~ Quarters; C03-317L

Dear Mr. Aguilar,

Title 18 of the United States Code, section 3582(c)(1)(A), allows a sentencing court, on motion of the Director of
the BOP, to reduce a term of imprisonment for extraordinary or compelling reasons. BOP Program Statement No.
5050.50, Compassionate Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§
3582(c)(1)(A) and 4205(g), provides guidance on the types of circumstances that present extraordinary or
compelling reasons, such as the inmate’s terminal medical condition; debilitated medical condition; status as a
“new law” elderly inmate, an elderly inmate with medical conditions, or an “other elderly inmate”; the death or
incapacitation of the family member caregiver of the inmate’s child; or the incapacitation of the inmate’s spouse
or registered parmer. Your request has been evaluated consistent with this general guidance.

Medical staff reviewed your request for a Reduction in Sentence (RIS) to determine whether you met the RIS
guidelines in accordance with Program Statement 5050.50. It has been determined that you do not meet any of
the medical criteria (i.e. Terminal, Debilitated or Elderly with Medical Conditions) at this time. You do not
have a terminal illness and your current medical condition is adequately treated at the institution. You do not have
a debilitating medical condition and you are independent of your activities of daily living. Finally, you do not
meet the age requirement (i.e. 65 years or older) for Elderly with Medical Conditions. Based upon this
information, your request for a Compassionate Release/Reduction in Sentence (RIS) has been denied,

Regarding COVID-19, please know the BOP is taking extraordinary measures to contain the spread of COVID-19
and treat any affected inmates. We recognize that you, like all of us, have legitimate concerns and fears about the
spread and effects of the virus. However, any concern about being potentially exposed to, or possibly contracting,
COVID-19 does not currently warrant an early release from your sentence.

if you are not satisfied with this response to your request, you may commence an appeal of this decision via the
administrative remedy process by submitting your concerns on the appropriate form (BP-9) within 20 days of the,
receipt of this response. Any decision regarding appeal will be handled in a manner outlined in policy.
Additionally, per policy you have a right to file a request for a reduction in sentence with your sentencing court
after receiving a BP-11 response or the lapse of 30 days from the receipt of such a request by the Warden’s
Office.

Sincerely,

Ger See
T. Scarantine

Complex Warden

 

cc: AW
Medical Records
Unit Team

 
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 75o0f96 PagelD 5149

 

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U.S. DEPARTMENT OF JUSTICE

REQUEST FOR ADMINISTRATIVE REMEDY
Federal Bureau eho ac4g00-Cr-00195-A Document 773 Filed 01/05/21 Page 76 of 96 PagelD 5150

 

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REG. NO. UNIT INSTITUTION ‘
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WARDEN OR REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of the date

this response.
ORIGINAL: RETURN TO INMATE CASE NUMBER: CY Al u AO - \

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Part C- RECEIPT

 

 

 

Return to:
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 77 of96 PagelD 5151

U.S. Department of Justice.
Federal Bureau of Prisons Request for Administrative Remedy
' FCC Butner Part B - Response

Sn

Admin Remedy Number: 1031479-F1

Sn

This is in response to your Request for Administrative Remedy, 10307 62-F1, receipted July 7, 2020, in which you appeal
the denial of your request for a reduction in sentence and/or compassionate release.

Title 18 of the United States Code, section 3582(c)(1)(A), allows a sentencing court, on motion of the Director of the BOP,
to reduce a term of imprisonment for extraordinary or compelling reasons. BOP Program Statement No, 5050.50,
Compassionate Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g),
provides guidance on the types of circumstances that present extraordinary or compelling reasons, such as the inmate’s
‘terminal medical condition; debilitated medical condition, status as a “new law” elderly inmate, an elderly inmate with
medical conditions, or an “other elderly inmate”; the death or incapacitation of the family member caregiver of the inmate’s
child; or the incapacitation of the inmate’s spouse or registered partner. Your request for a Compassionate
Release/Reduction in Sentence under Terminal, Debilitated, and Elderly with Medical Condition criteria and concerns
related to COVID-19 was evaluated under general guidance outlined in the program statement. Based on guidance received
on April 6, 2020, from Bureau of Prisons’ Central Office al present, there remains no change to the BOP's Compassionate
Release/Reduction in Sentence criteria based only on possible exposure to COVID-19, At this time there are no changes to
the Compassionate Release/Reduction in Sentence based on CARES Act and Home Confinement under the First Step Act. :

Therefore, based on the above information, your Request for Administrative Remedy is denied.
If dissatisfied with this response, you may appeal to the Regional Director, Federal Bureau of Prisons, Mid-Atlantic

Regional Office, 302 Sentinel Drive, Suite 200, Annapolis Junction, Maryland, 20701. Your appeal must be received in the
Regional Office within 20 days from the date of this response.

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$ appeal. at

 

 

 

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Part 8 - RESPONSE
DATE : REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel's Office within 30 calendar
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Part C - RECEIPT
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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 80 of 96

RECEIPT - ADMINISTRATIVE REMEDY

DATE: SEPTEMBER 8, 2020

FROM: ADMINISTRATIVE REMEDY COORDINATOR
BUTNER FMC

TO : ANTHONY STEVEN AGUILAR, 33985-177
BUTNER FMC UNT: MED/SURG QTR: CO3-317L

e

THIS ACKNOWLEDGES THE RECEIPT OF THE ADMINISTRATIVE REMEDY REQUEST
IDENTIFIED BELOW:

REMEDY ID : 1031479-F1

DATE RECEIVED : JULY 7, 2020

RESPONSE DUE : JULY 27, 2020

SUBJECT 1 : REDUCTION-IN-SENTENCE REQUEST-OTHER/NON-MEDICAL

SUBJECT 2

PagelD 5154
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 810f96 PagelD 5155

RECEIPT - ADMINISTRATIVE REMEDY

 

DATE: SEPTEMBER 8, 2020

FROM: ADMINISTRATIVE REMEDY COORDINATOR
MID-ATLANTIC REGIONAL OFFICE

TO : ANTHONY STEVEN AGUILAR, 33985-1777
BUTNER FMC UNT: MED/SURG OTR: CO03-317L

THIS ACKNOWLEDGES THE RECEIPT OF THE REGIONAL APPEAL
IDENTIFIED BELOW:

REMEDY ID : 1031479-R1

DATE RECEIVED : JULY 27, 2020

RESPONSE DUE : SEPTEMBER 25, 2020

SUBJECT 1 : REDUCTION-IN-SENTENCE REQUEST-OTHER/NON-MEDICAL

SUBJECT 2

 
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 82 of 96

EXTENSION OF TIME FOR RESPONSE - ADMINISTRATIVE REMEDY

DATE: SEPTEMBER 8, 2020

FROM: ADMINISTRATIVE REMEDY COORDINATOR
MID-ATLANTIC REGIONAL OFFICE

TO ; ANTHONY STEVEN AGUILAR, 33985-177
BUTNER FMC UNT: MED/SURG QTR: CO3-317L

ADDITIONAL TIME IS NEEDED TO RESPOND TO THE REGIONAL APPEAI,
IDENTIFIED BELOW. WE ARE EXTENDING THE TIME FOR RESPONSE AS PROVIDED
FOR IN THE ADMINISTRATIVE REMEDY PROGRAM STATEMENT,

REMEDY ID : 1031479-R1

DATE RECEIVED : JULY 27, 2020

RESPONSE DUE > SEPTEMBER: 2532020

SUBJECT 1 : REDUCTION-IN-SENTENCE REQUEST-OTHER/NON-MEDICAL
SUBJECT 2

No Response

PagelD 5156

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Federal Bureau of Prisons

 

 

Type or use ball-point pen. If attachments are needed, submit four copies. One copy each of the completed BP-229{13) and BP-230(13), including any attach-

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Part A- REASO

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Part B - RESPONSE

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Part C - RECEIPT ‘9g -

case number; 103147
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LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION

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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 85of96 PagelD 5159

REJECTION NOTICE - ADMINISTRATIVE REMEDY

SEPTEMBER 16, 2020

™—
ADMINISTRATIVE REMEDY COORDINATOR
CENTRAL OFFICE

ANTHONY STEVEN AGUILAR, 33985-177

BUTNER FMC UNT: MED/SURG OTR: CO3-317L
P.O, BOX 1600

BUTNER, NC 27509

FOR THE REASONS LISTED BELOW, THIS CENTRAL OFFICE APPEAL
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.

REMEDY ID : 1031479-Al CENTRAL OFFICE APPEAL
DATE RECEIVED : SEPTEMBER 2, 2020
SUBJECT 1 » REDUCTION-IN-SENTENCE REQUEST-OTHER/NON-MEDICAL

SUBJECT 2
INCIDENT RPT NO:

REJECT REASON 1: SEE REMARKS.

REMARKS : REGION ACCEPTED YOUR APPEAL ON 8-31-2020, & EXTENDED

THE DUE DATE SO THIS APPEAL IS NOT UNTIMELY.

 

 

FOR REGIONAL RESPONSE.

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Federal Bureau of Prisons

 

 

Type or use ball-point pen. If attachments are needed, submit four copies. One copy each of the completed BP-229(13) and BP-230(13), including any attach-
ments myst be submitted with this appeal. °

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Part B - RESPONSE
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CASE NUMBER:
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SUBJECT:
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BP-231(73
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FROM;

TO

Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 88 0f96 PagelD 5162

REJECTION NOTICH « ADMINISTRATIVE REMEDY

OCTOBER 30, 2020

ADMINISTRATIVE REMEDY COORDINATOR
CENTRAL OFFICE

. ANTHONY STEVEN AGUILAR, 33985-177

BUTNER FMC UNT: MED/SURG QTR: CO3-317L
P.O, BOX 1600
BUTNER, WNC 27509

FOR THE REASONS LISTED BELOW, THIS CENTRAL OFFICE APPEAL

I8 BEING REJECTED AND RETURNED TO YOU. you SHOUL
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.

REMEDY ID : 1631479-A2 CENTRAL OFFICE APPEAL
DATE RECEIVED : OCTOBER 19, 2020
_ SUBJECT 1

SUBJECT 2 :
INCIDENT RPT NO:

" REJECT REASON 1:

D INCLUDE A COPY

REDUCTION-IN~SENTENCE REQUEST -OTHER/NON-MEDICAL

YOUR APPEAL OF THE REJECTION IS UNTIMELY. RESUBMISSIONS ARE

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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 89 0f96 PagelD 5163

U.S. Department of Justice
Federal Bureau of Prisons
Federal Correctional Complex
Federal Medical Center

P.O. Box 1000

Butner, NC 27509

yo 18, 2020
FROM: T. Michalski, sounoet, |

SUBJECT: Aguilar, Anthony #33985-177

 

 

MEMORANDUM FOR ALL CONCERNED

The above referenced inmate received his copy of remedy # 1031479-A1 on 10/5/2020.
Remedy #1031479-A2 was received on 11/17/2020. Due to Covid modified lockdown
and needing copies, his submissions were late.
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 90o0f96 PagelD 5164

BP~A0148 INMATE REQUEST TO STAFF cprrm

JUNE 10 ;
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS -

 

 

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This form replaces BP=-148.070 dated Oct 86
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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 91o0f96 PagelD 5165

EXHIBIT 3:
“Certificate of Achievements”
Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 92o0f96 PagelD 5166

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PAGE 001 OF OO1 *

REGISTER NO:

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EDUCATION COURSES

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EDUCATION INFORMATION

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TEX COMPUTER APP 5:30P-8:30P M-THU 02-27-2017 02-16-2018 PoC Cc 720
TEX HEALTH FAIR-VARIOUS TOPICS | 07-12-2017 O7-1a-2017 P C P 2
TEX ULTRA KEY TYPING 8:30A-9:30A 09-26-2016 11-07-2016 P C 2? 24
TEX BEGINNER'S FRENCH 88-01-2016 10-04-2016 PC PR 32
THX SPANISH VOCABULARY 03-14-2016 05-18-2016 P C P 40
TEX PARENTING, 2:35-3:25 MON-FRI 85 05-14-2015 10-27-2015 P Cc P 30
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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 93 0f96 PagelD 5167

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Case 4:05-cr-00195-A Document 773 Filed 01/05/21 Page 95o0f96 PagelD 5169

ANTHONY STEVEN AGUILAR
REG. NO. 33985-177
FMC BUTNER
FEDERAL MEDICAL CENTER
P.O. BOX 1600
BUTNER, NC 27509
DecembercxX3, 2020

Ms. Karen Mitchell

Clerk of Clerk

U. S. District Court

Northern District of Texas

Fort Worth Division

501 West 10th Street, Room 310
Fort Worth, TX 76102-3673

RE: Aguilar v. United States
Crim No. 4:05-cr-00195-A-5

Dear Ms. Mitchell:

Enclosed please find and accept for filing Movant’s Motion for Compassionate
Release pursuant to 18 U.S.C. § 3582(c)(1 (A) and First Step Act of 2018. Please
submit this document to the Court.

Thank you for your assistance in this matter.

Sincerely,

Nac < (ea be

ANTHONY STEVEN AGUILAR
Appearing Pro Se

Encl. as noted

 

 

 

 
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05-cr-00195-A Document 773 Filed 01/05/21 Page 96o0f96 PagelD

 

Case 4

 

 

 

 
 
 
 
 
  
 

             

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